    Lanora C. Pettit                                                                                                      (512) 463-2127
    Principal Deputy Solicitor General                                                                       Lanora.Pettit@oag.texas.gov

                                                                August 7, 2024
Via CM/ECF

Mr. Lyle W. Cayce, Clerk
U.S. Court of Appeals for the Fifth Circuit

   Re:        United States v. Abbott, No. 23-50632

Dear Mr. Cayce:

     As indicated yesterday, I am filing a copy of the hearing transcript for the status
conference on August 6, 2024, that I referenced in my previous letter to the en banc
Court. Yesterday afternoon, the district court ordered that the August 6th status
conference be “continued in person” today. During this morning’s hearing, the
district court verbally instructed me to file a copy of today’s transcript as well.
Accordingly, the district court’s order and second transcript are also attached.

                                                                                       Respectfully submitted.

                                                                                       /s/ Lanora C. Pettit

                                                                                       Lanora C. Pettit
                                                                                       Principal Deputy Solicitor General

cc: all counsel of record (via CM/ECF)




         Po st O f f ic e Bo x 1 2 5 4 8 , Au s ti n , Tex as 7 8 7 1 1 - 2 5 4 8 • ( 5 1 2 ) 4 6 3 - 2 1 0 0 • www.t ex as at to r n ey g e n er al .g o v
          A TTACHMENT 1:
 Transcript of Status Conference
Before The Honorable David A. Ezra
           August 6, 2024
                                                                      1

1                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
2                                 AUSTIN DIVISION

3    UNITED STATES OF AMERICA,                 ) AU:23-CV-00853-DAE
                                               )
4         Plaintiff,                           )
                                               )
5    v.                                        ) AUSTIN, TEXAS
                                               )
6    GREG ABBOTT, ET AL.,                      )
                                               )
7         Defendants.                          ) AUGUST 6, 2024

8

9

10             **********************************************
                       TRANSCRIPT OF STATUS CONFERENCE
11                   BEFORE THE HONORABLE DAVID A. EZRA
               **********************************************
12

13
     FOR THE PLAINTIFF:       BRIAN H. LYNK
14                            U.S. DEPARTMENT OF JUSTICE
                              ENVIRONMENTAL DEFENSE SECTION
15                            P.O. BOX 23986
                              WASHINGTON, D.C. 20026-3986
16
                              ANDREW D. KNUDSEN
17                            BRYAN JAMES HARRISON
                              KIMERE J KIMBALL
18                            U.S. DEPARTMENT OF JUSTICE
                              ENVIRONMENT & NATURAL RESOURCES
19                            P.O. BOX 7611
                              WASHINGTON, D.C. 20044
20
                              LANDON ALLEN WADE
21                            UNITED STATES ATTORNEY'S OFFICE
                              903 SAN JACINTO BOULEVARD, SUITE 334
22                            AUSTIN, TEXAS 78701

23                            MARY F. KRUGER
                              UNITED STATES ATTORNEYS OFFICE
24                            CHIEF, CIVIL DIVISION
                              601 NW LOOP 410, SUITE 600
25                            SAN ANTONIO, TEXAS 78216


                ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
           U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                    2

1    FOR THE DEFENDANTS:     MUNERA AL-FUHAID
                             MONROE DAVID BRYANT, JR.
2                            JOHNATHAN STONE
                             KYLE STEPHEN TEBO
3                            OFFICE OF THE ATTORNEY GENERAL
                             PO BOX 12548
4                            AUSTIN, TX 78711-2548

5                            RYAN DANIEL WALTERS
                             OFFICE OF THE TEXAS ATTORNEY GENERAL
6                            SPECIAL LITIGATION DIVISION
                             209 WEST 14TH STREET, 7TH FLOOR
7                            AUSTIN, TEXAS 78701

8                            JAMES P. SULLIVAN
                             OFFICE OF THE GOVERNOR
9                            P.O. BOX 12428
                             AUSTIN, TEXAS 78711-2428
10
     COURT REPORTER:         ARLINDA RODRIGUEZ, CSR
11                           501 WEST 5TH STREET, SUITE 4152
                             AUSTIN, TEXAS 78701
12                           (512) 391-8791

13

14

15

16

17

18

19

20

21

22

23

24   Proceedings recorded by computerized stenography, transcript

25   produced by computer.


              ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
         U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                 3

09:10:45   1            (Open court)

09:10:45   2                 THE CLERK:    AU:23-CV-853, United States of

09:10:49   3    America v. Greg Abbott, et al.

09:10:53   4                 THE COURT:   All right.     Good morning to all of

09:10:55   5    you.     Can we have appearances, please.

09:11:00   6                 MR. LYNK:    Good morning, Your Honor.    For the

09:11:01   7    United States, Brian Lynk from the Department of Justice.

09:11:05   8    With me are Andrew Knudsen, Kimere Kimball,

09:11:09   9    Bryan Harrison, as well as Mary Kruger and Landon Wade of

09:11:15   10   the U.S. Attorney's Office.

09:11:18   11                MS. AL-FUHAID:    Good morning, Your Honor.

09:11:19   12                THE COURT:    Good morning.

09:11:19   13                MS. AL-FUHAID:    Munera Al-Fuhaid on behalf of

09:11:19   14   Defendants Governor Greg Abbott and the State of Texas.

09:11:23   15   And with me are my colleagues from the Texas Attorney

09:11:25   16   General's Office, David Bryant, Johnathan Stone,

09:11:29   17   Zach Berg, Kyle Tebo, Ryan Walters.

09:11:42   18                THE COURT:   And my buddy back there in the

09:11:42   19   courtroom, good to see you.       You want to make your

09:11:42   20   appearance?

09:11:42   21                MR. SULLIVAN:    Sure.    James P. Sullivan,

09:11:45   22   General Counsel for the Governor of Texas, Greg Abbott.

09:11:47   23                THE COURT:   Good.   Good to see you.

09:11:49   24                MR. SULLIVAN:    Thanks, Judge.

09:11:49   25                THE COURT:   Okay.   Well, we've had an eventful,


                            ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                       U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                             4

09:11:55   1    if not entirely clear opinion or a bunch of opinions, out

09:12:01   2    of the Fifth Circuit.     And one of the things we need to

09:12:09   3    do today is decide how we're going to go forward.

09:12:11   4             I think the first thing we have to keep in mind

09:12:15   5    is that the en banc ruling was a ruling on a preliminary

09:12:19   6    injunction, not the merits.     We haven't had the trial in

09:12:21   7    this case yet, so there is room for additional evidence.

09:12:25   8             Now, to the extent that the en banc ruling laid

09:12:29   9    out legal principles, those legal principles of course

09:12:32   10   are binding.   But the problem is -- and several judges

09:12:41   11   who have read the opinions, and some law professors I

09:12:45   12   think have also weighed in -- we have a nine-nine split.

09:12:56   13            So you have the majority, which is nine judges,

09:13:06   14   for the -- for most of it, but then you have seven

09:13:13   15   judges -- seven or eight judges; I'm not sure -- who

09:13:18   16   Judge Richman, who did not agree with the majority.       She

09:13:23   17   concurred in the judgment, but she did not agree with the

09:13:26   18   majority on the test for navigability.     She took a

09:13:32   19   dispute with that.     And Judge Ho didn't say anything

09:13:35   20   about it at all.     So you actually have, if you look at

09:13:41   21   that issue, what could be said to be a nine-nine split.

09:13:48   22            I'm not sure about that.     I'm not taking that

09:13:51   23   position, okay?    I don't know.   But it's something that

09:14:01   24   the parties are going to have to address.

09:14:04   25            Typically, if you have -- for instance, I'll


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                             5

09:14:08   1    give you an example.     I was on a panel.   I sit regularly

09:14:12   2    with the Ninth Circuit Court of Appeals, and have for

09:14:15   3    over 35 years.     And I was on a panel that made a very

09:14:20   4    important ruling involving the State of Oregon, and that

09:14:35   5    was appealed to the Supreme Court.     Justice Kagan had to

09:14:46   6    recuse herself because she had been Solicitor -- I guess

09:14:49   7    she had been -- I'm not sure.     I think she was Solicitor

09:14:52   8    General, right? at the time.     So she had to recuse

09:14:56   9    herself, and the Supreme Court split four-four.      The end

09:14:59   10   result was our ruling, the Ninth Circuit ruling, was

09:15:03   11   affirmed.

09:15:07   12                Now, we have done some research of our own on

09:15:16   13   this, and I think what we have to do is there's going to

09:15:20   14   have to be some parsing of these opinions and looking at

09:15:24   15   them carefully.     But the point is that it isn't as clear

09:15:28   16   cut as one would seem, and I think both parties need to

09:15:32   17   understand that.     I think we need to look at it very

09:15:36   18   carefully.

09:15:36   19                And I think Governor Abbott, who is himself an

09:15:42   20   attorney and a former State Supreme Court Justice, a very

09:15:46   21   bright man, he's made, obviously, a statement in support

09:15:51   22   of the decision, but he's been very -- otherwise, very

09:15:55   23   reserved, I thought, which leads me to believe that he

09:16:00   24   understands that this isn't quite as clear-cut as one

09:16:03   25   might think.


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                 6

09:16:04   1                I don't know.   I could be wrong here.    But it

09:16:11   2    doesn't matter, quite frankly, because this case, I

09:16:15   3    predict -- and I'm a good predictor.     I've had four

09:16:23   4    cases -- three or four cases that I said -- that I've

09:16:25   5    decided that I said would go to the Supreme Court, and

09:16:28   6    all four of them did.

09:16:34   7                I did okay at the Supreme Court except in

09:16:41   8    bump stock.     I got -- I didn't do well in bump stock, but

09:16:45   9    I still think I was right on bump stock.     The others the

09:16:52   10   Fifth Circuit was reversed.     I was reversed, and then

09:16:55   11   they were reversed by the Supreme Court.     The most recent

09:16:59   12   one was the 1983 case involving Castle Hills.        And had

09:17:06   13   good dissent from, actually.     Judge Oldham wrote a strong

09:17:10   14   dissent from the panel opinion.     And think I -- Judge

09:17:14   15   Oldham and I were right, and the Supreme Court thought so

09:17:16   16   also.

09:17:16   17               But this case will end up, I think, in the

09:17:19   18   Supreme Court.     So you have to take the long view.      And

09:17:24   19   for sure SB 4 will end up at the Supreme Court.        So we

09:17:29   20   have to take the long view in this case and remember

09:17:35   21   that, whatever we do, we have to do with a light of

09:17:40   22   trying to create the very best record we can, both sides,

09:17:45   23   because it isn't going to end here.

09:17:50   24               Whatever I do, we don't know whether we have a

09:17:53   25   jury yet.     You know, that's still up there.   And who


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                 7

09:18:01   1    knows?   I don't know why the State of Texas would

09:18:08   2    actually want a jury in this case, but all right.            Unless

09:18:13   3    it was just a way to delay the case.         I don't know.     I'm

09:18:16   4    not sure.    I would hope not.       But a lot of people have

09:18:26   5    been shaking their heads on that one.

09:18:28   6                You know, I haven't ruled entirely against the

09:18:30   7    State of Texas in this case.         I dismissed a cause of

09:18:33   8    action brought by the -- by the United States Government

09:18:41   9    in this case.    It wasn't mentioned, I don't think, in the

09:18:44   10   en banc, but it did happen.

09:18:45   11               So here we are.       Do we have any additional

09:18:55   12   discovery that needs yet to be done before we go to

09:18:58   13   trial?

09:18:58   14               MS. AL-FUHAID:    No, Your Honor.

09:18:59   15               THE COURT:    You don't?

09:19:01   16               MS. AL-FUHAID:    Not from our perspective.

09:19:04   17               MR. LYNK:    Your Honor, we're not requesting

09:19:05   18   that at this time.       Now, we are of course looking, as you

09:19:10   19   mentioned, at the opinion carefully.         We're also looking

09:19:13   20   at -- we'll be making our evaluation as to whether to

09:19:17   21   seek further appeal from the opinion.         I think as part of

09:19:20   22   that, of course, we're going to reevaluate the evidence

09:19:23   23   that we have in light of the discussions in the opinion.

09:19:27   24   And so I can't rule that out entirely.

09:19:29   25               THE COURT:    Yeah.     I want to make it very clear


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                8

09:19:31   1    that I am personally not saying there is a definitive

09:19:36   2    split here.     What I'm saying is that has -- that is the

09:19:42   3    chatter, okay?     There are law professors and judges who

09:19:47   4    have said that Judge Willett's opinion is not

09:19:51   5    precedential.     Now, I'm not saying that.     I want to make

09:19:55   6    that very, very clear.

09:19:58   7                MR. LYNK:    Yes.

09:19:58   8                THE COURT:    I don't want to read a newspaper

09:20:01   9    article saying Judge Ezra said Judge Willett's opinion is

09:20:05   10   not precedential.       I didn't say that, and I'm not saying

09:20:08   11   it.

09:20:08   12               MR. LYNK:    Understood, Your Honor.    But just on

09:20:10   13   your question of discovery, I think -- again, we're not

09:20:12   14   asking for it today, but I think we'd like the

09:20:14   15   opportunity to give you a firmer answer once we evaluate.

09:20:16   16               THE COURT:    Okay.    Let me explain to you, now,

09:20:19   17   the parties had requested a 60-day continuance.         And you

09:20:22   18   might be wondering why there was a joint motion filed.

09:20:26   19   Or I guess the State had agreed to it or something?

09:20:29   20               MS. AL-FUHAID:      We did not oppose the request,

09:20:31   21   Your Honor.

09:20:31   22               THE COURT:    You didn't oppose the request.

09:20:33   23   Okay.    Well, that's agreeing to it.

09:20:36   24               So why -- I don't know what -- is that --

09:20:41   25   that's kind of a --


                           ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                      U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                 9

09:20:43   1                 Anyway, so the State didn't oppose the request.

09:20:48   2    The government made it.       Why -- why 90 days instead of 60

09:20:52   3    days?   The reason is you have to prepare for trial.         I

09:20:59   4    used to be a trial lawyer in my time.       I don't know how

09:21:03   5    long it will take the panel that is selected -- I don't

09:21:09   6    even know who the panel is in this case.       Do we know?

09:21:12   7                 MS. AL-FUHAID:   We're not aware, Your Honor.

09:21:14   8                 THE COURT:   Yeah.   I don't think we even know

09:21:16   9    Who the panel is.     I don't know how long it's going to

09:21:22   10   take them.     I mean, I'm still waiting even to this day

09:21:25   11   for a panel ruling on the SB 4 case.       And I'm not chiding

09:21:28   12   the Fifth Circuit for that; it's a difficult issue.          But

09:21:31   13   they haven't come down with an opinion in that, and that

09:21:33   14   was argued quite some time ago.

09:21:36   15                So sometimes it takes a while to get these

09:21:39   16   rulings out.     And I know that because, as I said, I sit

09:21:42   17   on the Ninth Circuit.      In fact, I'm about to go off to

09:21:46   18   Portland to sit on the Ninth Circuit again.       We have some

09:21:49   19   important cases we're going to be deciding.       So I'm

09:21:52   20   not -- I'm not critical at all.       But we don't know.

09:21:56   21                And my concern was that, once you get a ruling,

09:22:01   22   you need to prepare for trial.       And sometimes you prepare

09:22:04   23   differently if you're going to try the case to a jury

09:22:11   24   versus a judge.     And I don't want to put you in the same

09:22:15   25   kind of squeeze play the State likes to put me in.


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                  10

09:22:21   1                 By the way, I think that's a bad practice.          If

09:22:24   2    I were you, I would not continue -- I would talk to

09:22:26   3    whoever is in charge of that and not do these letters to

09:22:30   4    the judge saying, if you don't rule by tomorrow at 5:00,

09:22:33   5    I'm doing this.      It kind of sounds like a threat, and

09:22:37   6    federal judges don't do threats well.        I think it's not a

09:22:45   7    good idea to do that.

09:22:46   8                 I have never in my entire 35, almost 36 years,

09:22:50   9    on the bench had it done to me, except by the State of

09:22:53   10   Texas twice now.      So I think -- and I've handled big

09:22:59   11   cases.     So I think it's a better practice not to do that.

09:23:04   12   Now, does it prejudice me against the State?         Absolutely

09:23:08   13   not.     I mean, I made my ruling for the State in this case

09:23:14   14   after they did it the first time.        But I just think it's

09:23:18   15   not a good practice, and it doesn't look good.         It

09:23:22   16   doesn't look good to me, and I don't even think it looks

09:23:25   17   good to the Fifth Circuit.

09:23:31   18                It would be me like putting an order out

09:23:33   19   saying, you know, if the Fifth Circuit doesn't do

09:23:36   20   something by X number hours, I'm going to do this, this,

09:23:40   21   or this.     And I think a Fifth Circuit Judge would look at

09:23:44   22   that and say, Who does this guy think he is?         So I think

09:23:46   23   it's not a good practice, and I would really kind of

09:23:48   24   avoid it.

09:23:49   25                If you intend to file a motion or a writ of


                            ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                       U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                11

09:23:53   1    mandamus and you want to let the judge know, I would just

09:24:02   2    say, We are contemplating filing a writ of mandamus in

09:24:08   3    this matter, period.    And if you're going to file it,

09:24:11   4    file it five minutes after you send me the notice.        Or

09:24:14   5    file it two days after.     But don't say, if you don't do

09:24:17   6    it by X hour, I'm going to drop the ball on you.        I think

09:24:22   7    it just doesn't play well.

09:24:27   8              But that's an aside, all right?        That's just a

09:24:30   9    little bit of advice from somebody who's been a lawyer

09:24:36   10   for 52 years.

09:24:39   11             So I wanted to be sure that both sides had a

09:24:44   12   full and ample opportunity to be prepared for whatever

09:24:49   13   kind of trial we get.     We may get a ruling.     I don't know

09:24:55   14   if they're going to have -- do they have oral argument on

09:24:57   15   this mandamus?

09:24:58   16             MS. AL-FUHAID:     Right now no oral argument has

09:25:00   17   been scheduled, but I believe they could if they chose to

09:25:02   18   have an argument.

09:25:03   19             THE COURT:    Sure.   Did they have oral argument

09:25:06   20   the last mandamus, the one that they denied?        The State

09:25:07   21   of Texas filed a mandamus the last time, and it was

09:25:10   22   denied.

09:25:11   23             MS. AL-FUHAID:     They did not.

09:25:12   24             THE COURT:    They did not have -- I think they

09:25:14   25   did, didn't they?


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                  12

09:25:16   1                 MR. SULLIVAN:    They had an emergency oral

09:25:18   2    argument remotely the day after from the U.S. Supreme

09:25:23   3    Court.

09:25:23   4                 MS. AL-FUHAID:    I'm sorry, Your Honor.    I stand

09:25:24   5    corrected.

09:25:29   6                 THE COURT:   That's okay.    Listen, this has been

09:25:31   7    crazy.   This has been crazy.

09:25:33   8                 So the only reason I mentioned the chatter

09:25:35   9    about the nine-nine split is because I want you to be

09:25:39   10   ready for that.     I want you to argue it and be able to

09:25:41   11   prepare it.     If you sail along thinking, oh, well, we

09:25:46   12   won, maybe you didn't win as much as you thought you won

09:25:49   13   or maybe you did.     I don't know.      And I don't want the

09:25:55   14   State -- the Federal Government to be oblivious about

09:26:01   15   this either.     I mean, this is an important issue.       We

09:26:04   16   need to look at it.

09:26:05   17                There's an interesting water -- it's a water

09:26:07   18   case where the Supreme Court made it -- wrote a decision.

09:26:13   19   The case is -- my good law clerk Sam Krevlin found it --

09:26:20   20   Rapanos v. United States.       It's not that old, really, in

09:26:22   21   Supreme Court terms.      It's a 2006 decision at 547 U.S.

09:26:28   22   715, where there was this kind of a plurality.          And one

09:26:35   23   of the justices agreed with the judgment but didn't go

09:26:38   24   along with all of the reasoning.

09:26:42   25                So you had kind of this four-four -- I mean,


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                 13

09:26:46   1    you had four-four and then somebody else over here doing

09:26:50   2    something different.      And two circuits did not follow the

09:26:56   3    four opinion, the, quote/unquote, majority opinion,

09:27:01   4    didn't follow it.     And -- because they deemed it

09:27:05   5    non-precedential.     And there's another case called June

09:27:10   6    Medical Services v. Russo which you might want to look

09:27:14   7    at.    That's another one.

09:27:15   8                So there are these cases out there, and we need

09:27:21   9    to -- we need to look at it and I need to make a

09:27:23   10   decision.    I mean, I might ultimately decide that, under

09:27:31   11   the circumstance of this case, that Judge Willett's

09:27:34   12   opinion controls.     I might very well decide that, or I

09:27:43   13   may be convinced otherwise.

09:27:44   14               But let's just say there are law professors and

09:27:47   15   other judges out there who feel that isn't the case.            And

09:27:51   16   I have not -- and I promise you this is true.        I have not

09:27:54   17   made a decision one way or the other.       I want to hear

09:27:59   18   from you.    I want to hear from the lawyers.      I want to

09:28:01   19   look at it much more carefully.

09:28:05   20               THE COURT:   You want to introduce yourself,

09:28:11   21   because the record doesn't know who you are.

09:28:11   22               MR. STONE:   Yes, Your Honor.    I'm

09:28:12   23   Johnathan Stone.     I just wanted to get a little follow-up

09:28:15   24   on that and get a little clarity.       Are you wanting us --

09:28:18   25   are you going to enter a briefing schedule related to


                           ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                      U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                               14

09:28:20   1    this issue of what is the law of the case, and do you

09:28:22   2    want us to get with the plaintiff's counsel in this case

09:28:25   3    and see if we're in agreement on what is the law of the

09:28:28   4    case going forward?    Or, if we disagree, do you want that

09:28:30   5    briefed as well?

09:28:31   6             THE COURT:    Yeah.    I think that would be --

09:28:32   7    that's one of the reasons we're here, is to try to figure

09:28:35   8    all this out.   I mean, the United States might agree with

09:28:38   9    you or they may disagree.      I mean, they're going to have

09:28:43   10   to look at it very carefully.      I mean, this is a tricky

09:28:47   11   one, and, ultimately, this may be a decision made by the

09:28:55   12   Supreme Court in this case.

09:28:55   13            But this case is not going to go to the Supreme

09:28:58   14   Court, I don't think, on this record.      I think it will go

09:29:01   15   after trial.    They've been a little bit hesitant to take

09:29:06   16   things up on partial records recently.      But I don't know.

09:29:09   17   You know a lot more.    You live in Washington.     I don't.

09:29:17   18   Although my cases seem to get there a lot.

09:29:20   19            I'm really happy, by the way, and this has

09:29:24   20   nothing to do with this case.

09:29:24   21       (Discussion off the record)

09:30:12   22            THE COURT:    All right.    What kind of a briefing

09:30:15   23   schedule, since we're going to allegedly go to trial --

09:30:20   24   by the way, 90 days would have been the day after the

09:30:24   25   election, but I moved it one more day past.       Because I


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                             15

09:30:29   1    didn't want anybody, no matter what their view was, to be

09:30:32   2    so depressed or so happy that they couldn't focus,

09:30:37   3    depending upon what happens in the presidential election,

09:30:41   4    assuming we even know by then, right?     Sometimes you

09:30:48   5    don't.

09:30:48   6             I would certainly like to make a decision on

09:30:51   7    this prior to trial.    I don't think we want to go to

09:30:54   8    trial not knowing whether it's, as Judge -- the

09:31:00   9    majority -- the dissents plus Judge Richman feel that the

09:31:07   10   definition by Judge Willett was too narrow and that it's

09:31:14   11   you can use "across the river" or whether the majority,

09:31:21   12   which says you can't go "across the river."

09:31:23   13            I know what you do in a lake.      What do you do

09:31:26   14   with a lake?    You know, there's a lot of lakes that are

09:31:30   15   navigable waters in the United States.     What do you do

09:31:32   16   with a lake if you can't go across?     Let's say the lake

09:31:36   17   is long and you go across, what do you?     It's a problem.

09:31:47   18            Yes, ma'am?

09:31:47   19            MS. AL-FUHAID:    Your Honor, may I make a

09:31:48   20   suggestion?    The United States had requested a 60-day

09:31:51   21   stay of proceedings, and we agree with that request.

09:31:55   22   Would Your Honor be amenable to 60 days from now as

09:32:00   23   submitting briefing on this issue, and then that would

09:32:02   24   give them a chance to determine how they want --

09:32:05   25            THE COURT:    Yeah.   Hopefully by then we will


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                               16

09:32:07   1    have heard on the mandamus petition as to whether we'll

09:32:09   2    have -- whether we have a jury or not doesn't matter on

09:32:13   3    this issue.

09:32:14   4              MS. AL-FUHAID:       If that is agreeable to them.

09:32:16   5              MR. LYNK:    Your Honor, I think a 60-day

09:32:18   6    interval to brief you on this question makes sense as

09:32:21   7    well.

09:32:21   8              THE COURT:    Yeah.     That's much longer than we

09:32:23   9    would normally do.     You know ...

09:32:29   10             MR. LYNK:    Your Honor, and the reason --

09:32:31   11             THE COURT:    Yeah.     No.   I'll tell you what.

09:32:33   12   I'm going to give you 45 days so I've 15 days to look at

09:32:37   13   it before we get to the 60-day point, okay?        Because I

09:32:40   14   really need to -- I need to do a lot of work on this

09:32:44   15   myself.

09:32:44   16             MS. AL-FUHAID:       And would this be simultaneous

09:32:46   17   briefing, Your Honor?

09:32:47   18             THE COURT:    Yes.     We know what the issue is.

09:32:49   19   We're not going to go back and forth like a ping-pong

09:32:52   20   tournament.

09:32:53   21             MR. LYNK:    Understood, Your Honor.

09:32:55   22             THE COURT:    Friday, September 20th.

09:32:58   23             MR. LYNK:    Do you -- are you proposing a page

09:32:59   24   limit for each side's brief on this?

09:33:02   25             THE COURT:    Generally, 35 pages.


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                      17

09:33:05   1                 MS. AL-FUHAID:       Thank you, Your Honor.

09:33:06   2                 THE COURT:    That should be enough.

09:33:16   3                 MR. LYNK:    And, just to be clear, you just want

09:33:17   4    a single filing from each side?

09:33:19   5                 THE COURT:    Yes.

09:33:19   6                 MR. LYNK:    Should we reply to each other?

09:33:20   7                 THE COURT:    No.

09:33:22   8                 MR. LYNK:    Okay.     Thank you.      No.

09:33:23   9                 THE COURT:    No.     No.    Say everything you need

09:33:25   10   to say right then and there.             Yeah.    She was just asking

09:33:52   11   me about the pretrial deadlines and so forth, which

09:33:54   12   obviously have to be continued.             So you'll get that in

09:33:57   13   the order.

09:33:58   14                MS. AL-FUHAID:       Thank you, Your Honor.

09:33:59   15                THE COURT:    All right.       Anything else?

09:34:07   16                MR. LYNK:    Nothing that the United States can

09:34:12   17   think of, Your Honor.

09:34:13   18                MS. AL-FUHAID:       Nothing from Texas at the

09:34:14   19   moment, Your Honor.       Thank you.

09:34:15   20                THE COURT:    Let me again make myself very

09:34:18   21   clear, because for some reason I've been misquoted and

09:34:25   22   people have jumped to conclusions.               I have not reached

09:34:29   23   any decision as to what or even if there is an issue with

09:34:34   24   respect to Judge Willett's majority opinion.               I'm not

09:34:40   25   suggesting here that it isn't precedential, all right?                  I


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                              18

09:34:46   1    don't know.

09:34:46   2                 I'm saying that there have been voices who have

09:34:51   3    said that because of the split, and I don't know.      As I

09:35:01   4    look at it, I think that it's something that we need to

09:35:04   5    work out and I need to make a ruling on.      And then that

09:35:10   6    becomes an appealable ruling one way or the other.

09:35:16   7    Unless the parties fully agree, and I may not even agree

09:35:17   8    with the parties.

09:35:27   9                 I will tell you that the -- I had a bankruptcy

09:35:30   10   appeal that went to the Supreme Court where I disagreed

09:35:32   11   with the parties, and the -- and the Fifth Circuit agreed

09:35:35   12   with the parties and the Fifth Circuit was reversed

09:35:38   13   nine-zero.     So I'm glad I didn't agree with the parties.

09:35:42   14                So I think we need to be very careful here.      I

09:35:50   15   am not taking a position on this at this time.      I'm just

09:35:55   16   saying that I needed to raise it because it's there.

09:36:04   17   And, I mean, the one -- the one opinion we don't need to

09:36:10   18   worry about is Judge Ho's, because he was off by himself

09:36:13   19   and nobody followed anything he did.      And I'm not saying

09:36:18   20   that in a derogatory way, but it just -- he didn't

09:36:22   21   address this issue at all.      So we have to look at the

09:36:27   22   other -- we have to look at the other opinions.

09:36:32   23                Yes, sir?

09:36:32   24                MR. LYNK:   Your Honor, I did having something.

09:36:35   25   I think you mentioned you'll be issuing an order that


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                   19

09:36:37   1    makes clear the pretrial deadlines are continued.

09:36:39   2                 THE COURT:     Right.

09:36:40   3                 MR. LYNK:     There was some filings yesterday.

09:36:42   4    Can we assume that, for the moment, those matters are

09:36:45   5    stayed?

09:36:45   6                 THE COURT:     I haven't seen those filings.      I

09:36:47   7    just got here.

09:36:48   8                 MR. LYNK:     Okay.

09:36:49   9                 THE COURT:     What are those filings?

09:36:51   10                MS. AL-FUHAID:        There was a motion related --

09:36:52   11                THE COURT:     You didn't send me another filing

09:36:54   12   giving me 48 hours, did you, or 24 hours or 10 hours?

09:36:58   13                MS. AL-FUHAID:        No, Your Honor.

09:36:59   14                THE COURT:     I'm wasting my time sitting here.

09:37:01   15                MS. AL-FUHAID:        No, Your Honor.   Texas had some

09:37:05   16   lingering pretrial motions that it intended to file, and

09:37:09   17   we filed them yesterday.           We were unsure as to whether

09:37:13   18   this conference --

09:37:13   19                THE COURT:     What are those motions?      Can you

09:37:15   20   give me --

09:37:16   21                MS. AL-FUHAID:        There's a motion to preclude

09:37:18   22   one of the US's experts being presented in their case in

09:37:22   23   chief as opposed to a rebuttal expert.           And was there ...

09:37:28   24                MR. BRYANT:     Your Honor, the others are our

09:37:29   25   response to motions in limine filed by --


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                 20

09:37:31   1                THE COURT:   Oh.     The motions in limine ones I'm

09:37:33   2    not so worried about.       I'm going to -- I think it's been

09:37:41   3    referred to the magistrate.        It automatically gets

09:37:44   4    referred.

09:37:45   5                MS. AL-FUHAID:      Oh, okay.   Thank you,

09:37:47   6    Your Honor.

09:37:48   7                THE COURT:   And then the magistrate will make

09:37:51   8    a -- Judge Howell will make a preliminary ruling on it,

09:37:54   9    and then it can be appealed to me.          As long it doesn't

09:38:00   10   have to do with the merits.

09:38:02   11               MS. AL-FUHAID:      Well, Your Honor, what we were

09:38:03   12   unsure about, the reason we wanted to get those pretrial

09:38:06   13   filings, we were unsure as to whether Your Honor was

09:38:08   14   going to grant the United States's request for a stay at

09:38:11   15   this conference.

09:38:12   16               THE COURT:   Oh, you mean --

09:38:13   17               MS. AL-FUHAID:     We got those in before --

09:38:14   18               THE COURT:   No, I don't want to -- I put the

09:38:17   19   trial date off.    I don't want to stay that.        I mean,

09:38:22   20   there's no reason I can't rule on an expert designation.

09:38:32   21   I don't see that as, in any way, shape, or form, having

09:38:34   22   any bearing.

09:38:36   23               I mean, look.      The truth of the matter is, if

09:38:41   24   the opinion had gone a different way, we'd be in trial

09:38:44   25   today, right?


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                    21

09:38:48   1                MR. LYNK:    Correct.    Your Honor, there were --

09:38:52   2    there was at least one ruling as to which we had been

09:38:56   3    preparing to file a notice of objections to the

09:38:59   4    magistrate judge ruling.

09:39:00   5                THE COURT:    Okay.

09:39:01   6                MR. LYNK:    Is that something that we should

09:39:02   7    proceed with on a normal schedule?

09:39:05   8                THE COURT:    Yes.    Yes.     Don't give me a

09:39:07   9    vacation.    I'm not entitled to it.

09:39:09   10               MR. LYNK:    Understood.       On August 2nd, on

09:39:12   11   Friday, obviously, there were a number of things that

09:39:14   12   originally were due and we understood those were

09:39:16   13   suspended as of late last week in the circumstances.               How

09:39:20   14   are you going to --

09:39:21   15               THE COURT:    What were those?

09:39:22   16               MR. LYNK:    Generally, the response to the July

09:39:24   17   26th pretrial filing: objections to witnesses, objections

09:39:27   18   to exhibits, things like that.

09:39:29   19               THE CLERK:    They didn't file those.        You had

09:39:31   20   said to wait until today.

09:39:32   21               THE COURT:    Oh, yes.       Okay.   Those I think

09:39:37   22   probably should wait.       And the reason for that is we're

09:39:40   23   still waiting to figure out whether we have a jury or we

09:39:42   24   don't have a jury.       And you may decide to go with certain

09:39:45   25   witnesses if you have a jury.        I may even allow, because


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                              22

09:39:53   1    if -- if it stays the way it is, if the Fifth Circuit

09:39:58   2    rules that there is no jury in this case, because it's

09:40:02   3    equitable, then I won't reopen.

09:40:09   4                 But if we -- if they change the landscape and

09:40:14   5    say, well, you're going to have a jury now out of the

09:40:18   6    blue, then I may allow the parties to add additional

09:40:24   7    witnesses.     And that may impact our trial date.    So we'll

09:40:26   8    have to see where we are, okay?

09:40:28   9                 MR. LYNK:    And then, Your Honor, one other

09:40:30   10   motion I would bring to your attention, there was a

09:40:33   11   motion filed by Texas earlier to preclude some of the

09:40:36   12   injunctive relief that is sought in the case.

09:40:38   13                Now, that is a motion that we were preparing to

09:40:41   14   include our response to it in Friday's submissions, and

09:40:45   15   then obviously we didn't make submissions on Friday under

09:40:48   16   the circumstances.

09:40:48   17                THE COURT:    Right.

09:40:49   18                MR. LYNK:    How should we handle now the timing

09:40:52   19   of our opposition to that?

09:40:54   20                THE COURT:    I don't remember that motion.

09:40:56   21                MR. LYNK:    This is a motion --

09:40:58   22                THE CLERK:   It's an opposed motion to exclude

09:41:01   23   relief requested by the plaintiff, filed by the State of

09:41:03   24   Texas on July 3rd.

09:41:06   25                MR. LYNK:    So this is a motion that argues that


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                   23

09:41:08   1    a number of the injunctive relief requests in our

09:41:11   2    complaint are not, in Texas's view, proper under the

09:41:14   3    statute.     So they seek to exclude those.

09:41:15   4                 THE COURT:     Oh, okay.      All right.   I'm familiar

09:41:17   5    with that.

09:41:18   6                 MR. LYNK:     So that one I just wanted to clarify

09:41:19   7    when we would need to make our -- our opposition to that

09:41:23   8    and submit that on file.

09:41:24   9                 THE COURT:     Are you ready to file it?

09:41:26   10                MR. LYNK:     This afternoon, no, but certainly by

09:41:29   11   the end of the week or sooner, if needed.

09:41:31   12                THE COURT:     File it.

09:41:32   13                MR. LYNK:     Okay.

09:41:32   14                THE COURT:     By the end of the week -- next

09:41:34   15   week.   File it by Monday.

09:41:37   16                MR. LYNK:     Thank you, Your Honor.

09:41:38   17                THE COURT:     And then you can reply, okay?

09:41:42   18                MS. AL-FUHAID:        Is there a particular date by

09:41:44   19   which you would want our reply or just in accordance with

09:41:47   20   the rule?

09:41:47   21                THE COURT:     The normal course of events.

09:41:50   22                MS. AL-FUHAID:        Okay.   Thank you.

09:41:52   23                MR. BRYANT:     Your Honor, David Bryant.

09:41:54   24                THE COURT:     I was waiting, because now we

09:41:56   25   have -- no.     You haven't said anything officially.


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                             24

09:42:00   1    you're just giving him the information.     But we have

09:42:03   2    three, at least.   You need to say something.    You need to

09:42:06   3    earn your money.   Yes?

09:42:08   4               MR. BRYANT:    Your Honor, the defendants would

09:42:11   5    suggest that it may be appropriate to wait on resolving

09:42:21   6    some of these motions.     I have no problem with going

09:42:23   7    ahead and briefing them, but wait on resolving them until

09:42:26   8    we know whether, among other things, the United States is

09:42:29   9    going to continue with the case, whether they're

09:42:32   10   appealing, until we get closer to trial and we know --

09:42:35   11              THE COURT:    I mean, if the United States ends

09:42:37   12   up taking the position -- I've never -- I personally have

09:42:41   13   never seen it -- had it happen in any case I've been

09:42:45   14   involved in, but I have seen it happen in other cases

09:42:47   15   where some of my colleagues had -- and not involving the

09:42:51   16   United States, by the way.     It was involving other

09:42:54   17   parties.   But they got a negative ruling out of the --

09:42:58   18   interim ruling out of the Ninth Circuit, and they decided

09:43:03   19   they were going to allow the judge to just enter judgment

09:43:08   20   against them, because they could not effectively

09:43:11   21   prosecute their defense, and then immediately appealed on

09:43:18   22   the legal issues that had been decided.

09:43:21   23              Now, if the United States takes that position,

09:43:25   24   obviously, they would have to come to the conclusion that

09:43:28   25   Judge Willett's decision was not precedential and argue


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                 25

09:43:32   1    that to me.    And I would then have to make the ruling

09:43:35   2    that they were right, which I may not.

09:43:41   3                MR. BRYANT:     So, Your Honor, the defendants

09:43:42   4    would suggest that, although we can go ahead and brief

09:43:44   5    everything, that the Court wait until after the 60-day

09:43:47   6    period to make the Court's rulings, which the Court may

09:43:50   7    wish to do anyway.

09:43:51   8                THE COURT:     Yeah.

09:43:52   9                MR. BRYANT:     So that we can have a better

09:43:54   10   picture as to what the procedural posture of the case

09:43:57   11   will be going into a trial or otherwise, maybe on appeal

09:44:03   12   rather --

09:44:04   13               THE COURT:     Well, I'm not going to make that

09:44:06   14   decision today.    I'll look at the -- I'll look at the

09:44:09   15   filings, and then I'll decide whether it's appropriate to

09:44:11   16   wait or to make a ruling.          I don't like to have

09:44:14   17   unresolved motions hanging around.          That's a -- it's a

09:44:21   18   bad look, you know.       But I'll do what I can.     I

09:44:29   19   understand your concern, I do.

09:44:34   20               All right.     Anything else?

09:44:40   21               MR. LYNK:     Nothing else from the government,

09:44:41   22   Your Honor.    Thank you.

09:44:45   23               MR. WALTERS:     Your Honor?    Ryan Walters.

09:44:46   24               THE COURT:     Okay.    There you go.

09:44:46   25               MR. WALTERS:     I'm taking your advice,


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                26

09:44:48   1    Your Honor.

09:44:52   2                 THE COURT:     Thank you.

09:44:52   3                 MR. WALTERS:     We would just suggest that if the

09:44:54   4    Court is considering reopening discovery -- so we don't

09:44:57   5    know that yet, whether the Department of Justice wants

09:44:59   6    that -- when the Fifth Circuit rules on our right to a

09:45:06   7    jury trial --

09:45:07   8                 THE COURT:     I can assure you that that will not

09:45:09   9    happen if they deny the request for a jury trial, only

09:45:15   10   because then that -- that means that the tenor of the

09:45:18   11   case has been the same since its inception.

09:45:22   12                MR. WALTERS:     Right.     What we're saying --

09:45:22   13                THE COURT:     But if they -- if they say the

09:45:25   14   State gets a jury trial or gets a partial jury trial on

09:45:30   15   some issues and not on others, then I would consider it.

09:45:34   16   I'm not saying I would grant it, but I would certainly

09:45:37   17   consider it.

09:45:39   18                MR. WALTERS:     But, Your Honor, I guess our

09:45:40   19   position is that, if the Fifth Circuit were to find that

09:45:43   20   we are entitled to a jury trial, the court would have to

09:45:46   21   resolve these motions again because the standard would be

09:45:51   22   different.     So we would suggest not wasting the Court's

09:45:54   23   time in resolving these motions before we get a ruling

09:45:57   24   from the Fifth Circuit on --

09:45:58   25                THE COURT:     I don't know that the legal


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                27

09:45:59   1    standard would be different.

09:46:01   2                 MR. WALTERS:     Well, the standard for

09:46:03   3    considering, like, experts, whether they're going to be

09:46:06   4    excluded or not, would be different.

09:46:07   5                 THE COURT:     Oh, I see what you're saying, in a

09:46:10   6    practical sense.     Yeah.     I would agree with you there.        I

09:46:13   7    think that's right.       I told you I will take a look at it.

09:46:15   8    I haven't made up my mind on that yet.        I'll take a very

09:46:18   9    good look at it, okay.

09:46:20   10                MR. WALTERS:     Thank you, Your Honor.

09:46:21   11                THE COURT:     I mean, you're the folks that filed

09:46:23   12   the motion to exclude them.

09:46:27   13                MR. WALTERS:     Your Honor, if -- if we -- if we

09:46:31   14   could stay all proceedings, then we would withdraw the

09:46:34   15   pending motions.

09:46:35   16                THE COURT:     Well, I'm not going to stay

09:46:36   17   everything.     There are other things that are going on

09:46:39   18   here we just talked about, but I certainly would stay

09:46:42   19   that.   I mean, I wouldn't have to stay it.       All I'd have

09:46:45   20   to do is tell you that I would give you leave to refile,

09:46:50   21   okay?   I will -- if you withdraw it, you will get leave

09:46:54   22   to refile.     And that means that you're safe.        You're not

09:46:58   23   going to be time-barred.

09:47:04   24                MR. SULLIVAN:     Your Honor, you know, this being

09:47:05   25   I think the second-largest geographic district in the


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                 28

09:47:08   1    federal judiciary after the District of Alaska, as busy

09:47:10   2    as you are, as busy as Judge Howell is, we would suggest

09:47:13   3    that instead of looking at something twice, that could

09:47:15   4    just be looked at once.

09:47:16   5                 THE COURT:   I agree with you.

09:47:19   6                 MR. SULLIVAN:    And so whatever kind of stay

09:47:21   7    comes in Your Honor's order, again, we would respectfully

09:47:25   8    suggest that if it has to do with discovery, so the

09:47:27   9    motions in limine, the expert motions, because all of

09:47:29   10   that could be overtaken by events in a practical sense,

09:47:33   11   if not in a legal standard sense, we would respectfully

09:47:36   12   request clarity so that the parties can pull down any of

09:47:40   13   those kind of discovery motions and fights so that

09:47:41   14   they're not pending on your sheet with Chief Judge Moses

09:47:46   15   or anything like that.

09:47:47   16                THE COURT:   Chief Judge Moses is very happy

09:47:49   17   with me at the moment.       She's in the same boat I am.

09:47:52   18   Remember, she had the barbed wire case.

09:47:56   19                MR. SULLIVAN:    I remember it well, sir.     We've

09:47:58   20   had lovely times in Del Rio together as well with our --

09:48:00   21                THE COURT:   Yeah.   I used to sit in Del Rio.        I

09:48:03   22   sat in Del Rio for the first few years I was here.          I was

09:48:06   23   on the wheel down there, so I was down there every week.

09:48:09   24                MR. SULLIVAN:    Appreciate your service for that

09:48:10   25   sir.     So with clarification about discovery along those


                            ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                       U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                             29

09:48:13   1    lines, we can take things off of your, you know, 90-day

09:48:15   2    sheet or whatever it's called here and not do twice what

09:48:19   3    we can do once, if things are overtaken by events.

09:48:24   4              MR. LYNK:    From our point of view, I guess I'm

09:48:27   5    not sure if there really is a further issue to resolve.

09:48:32   6    I think your prior comments suggested that there are some

09:48:35   7    things you want to deal with and some things that should

09:48:37   8    wait.   And, generally, those seemed to make sense.

09:48:40   9              We can certainly respond, for example, to the

09:48:43   10   motion seeking to strike forms of injunctive relief by

09:48:47   11   Monday, as you've directed.    And that doesn't seem to

09:48:51   12   be --

09:48:52   13             THE COURT:   Are you concerned about that one?

09:48:55   14             MR. SULLIVAN:    No concern there.   It's well

09:48:57   15   said by my friend, Mr. Lynk.     I suppose that the whole

09:49:00   16   point is we're all obviously going to do whatever the

09:49:03   17   Court, whatever you tell us to do.     And so if your order

09:49:07   18   gives us clear marching orders, then we'll run up

09:49:10   19   whatever hills you want us to.

09:49:13   20             THE COURT:   Well, let's do this:    I think we

09:49:15   21   all agree that -- I think Mr. Lynk is right, and I

09:49:19   22   already said I would rule on that motion.      That's purely

09:49:22   23   a legal issue.   But I'll stay everything else.

09:49:29   24             MR. SULLIVAN:    Thank you, sir.

09:49:30   25             THE COURT:   And you're going to withdraw that,


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                     30

09:49:32   1    then, without prejudice.

09:49:34   2                 MR. WALTERS:     Thank you, Your Honor.

09:49:35   3                 THE COURT:     Okay.     So he's going to withdraw

09:49:36   4    without prejudice.        You don't have to worry about it.

09:49:39   5    But leave the one we talked about.

09:49:41   6                 MR. LYNK:    So the motion to exclude our witness

09:49:42   7    for now is withdrawn without prejudice.

09:49:45   8                 THE COURT:     Yes.     That's right.

09:49:48   9                 MR. SULLIVAN:        Thank you, sir.

09:49:48   10                THE COURT:     Without prejudice so that he can

09:49:50   11   refile it.     I don't want anybody to think they're being,

09:49:53   12   you know, hampered from refiling.

09:49:56   13                MR. SULLIVAN:        Thank you, sir.    Sorry for the

09:49:59   14   interruption.

09:50:00   15                THE COURT:     No.     Look.   We need all the help we

09:50:03   16   can get around here.        So, as usual, my very smart

09:50:31   17   courtroom deputy has a solution.            What I'm going to do,

09:50:38   18   all the motions in limine that are on the record now I'm

09:50:40   19   going to deny as moot subject to refiling, and you can

09:50:47   20   then make a decision whether you want to refile those at

09:50:50   21   the appropriate time.        We're going to give you deadlines

09:50:53   22   for those.

09:50:54   23                So the only thing that will be left on the

09:50:56   24   docket that I need to worry about is the -- is that one

09:51:01   25   motion we're talking about that he's going to be filing


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                 31

09:51:04   1    on Monday.

09:51:06   2                 THE CLERK:    No.     The motion to exclude, he's

09:51:07   3    going to file a response.

09:51:08   4                 THE COURT:    Yeah.     The motion to exclude, he's

09:51:11   5    going to file a response.

09:51:15   6                 MR. STONE:    And, your Honor, there was one more

09:51:17   7    thing mentioned by our friends at the USA.          They

09:51:20   8    mentioned filing objections to Magistrate Howell's prior

09:51:25   9    ruling.    Is that also going to be stayed, or are they

09:51:26   10   going to proceed forward with that?

09:51:28   11                MR. LYNK:    This was specifically -- we had a

09:51:31   12   motion to compel production of an email and a document

09:51:36   13   that were sent to a number of the expert witnesses,

09:51:41   14   Texas's.     And Judge Howell reviewed the document and the

09:51:43   15   email in-camera, and then he ordered production of a --

09:51:47   16   of redacted versions of those.

09:51:49   17                THE COURT:    And you want --

09:51:50   18                MR. LYNK:    Our objection is to the redaction.

09:51:52   19   And so we were preparing to file a notice of objection as

09:51:56   20   that to see the whole document.

09:51:57   21                THE COURT:    Don't do that.     Just hold it.   You

09:51:59   22   can file it later.

09:52:01   23                MR. LYNK:    Okay.

09:52:01   24                THE COURT:    You'll have time to file that

09:52:04   25   later.


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                32

09:52:05   1             MR. LYNK:     Thank you.

09:52:06   2             THE COURT:     We have to be flexible here.     We've

09:52:08   3    got a very -- this -- look.     This is a very unusual case,

09:52:15   4    to say the least.     I mean, it's about a buoy floating

09:52:21   5    around in the Rio Grande River, after all, all by itself,

09:52:27   6    just bobbing around there.

09:52:31   7             I saw a picture the other day where two people

09:52:34   8    attempting to swim across the Rio Grande.        I don't know

09:52:39   9    what they were doing, but they were resting on the buoy.

09:52:42   10   They were using the buoy as a rest.        So I don't know.

09:52:46   11   They either go around it or you rest on it, or I don't

09:52:49   12   know what they're doing with the buoy.        But there it is,

09:52:52   13   and it's there.     And it's been there.

09:52:56   14            And the one thing I would disagree with my good

09:53:03   15   friend Judge Willett about, he made -- he always makes a

09:53:07   16   big deal of the fact that I didn't order the buoy removed

09:53:11   17   from the ocean -- ocean.     This is what happens when you

09:53:15   18   decide dozens and dozens of cases involving the Pacific

09:53:20   19   Ocean because I came from Hawaii -- the river.        We do

09:53:27   20   have an ocean pretty close.

09:53:32   21            The reason I did not order -- and I've said

09:53:36   22   this in writing, and I'll say it again.        The reason I did

09:53:39   23   not order the buoy to be removed from the river, it was

09:53:45   24   put up against the bank so it would not be -- if my order

09:53:49   25   was followed, it would have been moved against the bank.


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                             33

09:53:54   1    It would not have been a hazard to navigation because it

09:53:58   2    would have been right up against the bank, number one.

09:54:01   3              Number two, it would have saved the taxpayers

09:54:05   4    of the State of Texas tens of thousands of dollars if,

09:54:10   5    for instance, I had ordered it removed, it had been

09:54:13   6    removed, and then ordered placed back in the water, what

09:54:21   7    a waste of money.    What an absolute waste of money.

09:54:28   8              And I was proven correct because I made my

09:54:33   9    ruling, that ruling was affirmed, originally, by a

09:54:37   10   three-judge panel.    In the meantime, that thing could

09:54:39   11   have been removed.    Then the en banc order comes along

09:54:44   12   and orders it, it would have to go back.     What a waste of

09:54:49   13   money.

09:54:51   14             So I'm sorry, Judge Willett.     That's the

09:54:55   15   reason.   And I -- I did not want the taxpayers of the

09:55:00   16   State of Texas or the Governor's Office, because he's got

09:55:06   17   other things to spend his money on, to have to spend the

09:55:10   18   money to put it back, you know, in the water if I had

09:55:15   19   ordered it taken out.

09:55:16   20             Plus -- and this is from a kid who worked his

09:55:20   21   way up going through school doing construction -- putting

09:55:26   22   those things in and out of the water -- and I've seen it

09:55:29   23   many times; we have it in Hawaii all the time -- is a

09:55:33   24   dangerous proposition.    And especially where those

09:55:39   25   concrete things have been laid down, to pull those out,


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                             34

09:55:43   1    they get sunken in the mud.     To pull those out, you get a

09:55:50   2    snapped chain or you get -- a machine doesn't work or

09:55:52   3    somebody falls in the water between the buoy and the

09:55:55   4    pillar under the water, they could be drowned or killed.

09:56:01   5    It's a hazard.

09:56:03   6                 I didn't want that to happen more often than

09:56:07   7    necessary, period.     Not because I didn't have faith in my

09:56:14   8    ruling or some such thing.     It had nothing to do with it.

09:56:19   9    It had to do with money.     I knew this thing would go on

09:56:22   10   appeal.   I knew the State would -- I mean, this is the

09:56:26   11   Fifth Circuit.     I knew the State had a chance of

09:56:30   12   prevailing.     It's -- it was a close call to begin with.

09:56:35   13                And I just didn't want the expense, and I

09:56:39   14   didn't want the danger to those workers of having to go

09:56:43   15   back out there and move it and then remove it and then

09:56:46   16   put it back.     It just didn't make sense to me.     And that

09:56:51   17   was the reason I did what I did.

09:56:53   18                It had nothing to do -- and I -- to be honest

09:56:58   19   with you, I wouldn't think, knowing Governor Abbott, he

09:57:08   20   would have been unhappy about that.     I mean, he wouldn't

09:57:13   21   say, jeez, I wish the judge had ordered it removed from

09:57:16   22   the water.     That just would not -- you know, I think he

09:57:25   23   is a very smart man.     He was a good lawyer.   He was a

09:57:29   24   Supreme Court Justice.     I'm sure that he understood what

09:57:32   25   I was doing.     And I said it at the time.


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                               35

09:57:37   1               So I don't know -- understand why my friend

09:57:40   2    Judge Willett, who I have the greatest regard for -- he's

09:57:44   3    a very fine jurist, and he's a nice man -- keeps thinking

09:57:48   4    that I did it because I wanted to -- I didn't have faith

09:57:53   5    in my order.    Why did I not just order it removed?      Well,

09:57:57   6    there's the reason: safety and money.       Safety first and

09:58:02   7    money second.

09:58:05   8               Okay.   Anything else?

09:58:09   9               MR. LYNK:    No, Your Honor.

09:58:10   10              MS. AL-FUHAID:    No, Your Honor.    Thank you.

09:58:12   11              THE COURT:    Okay.   And, by the way, has there

09:58:14   12   been an appeal by the United States of my ruling against

09:58:18   13   you on the treaty issue?

09:58:22   14              MR. LYNK:    No, there has not been an appeal

09:58:25   15   taken from that ruling.

09:58:26   16              THE COURT:    But that -- you have -- you don't

09:58:28   17   have to file it now.

09:58:30   18              MR. LYNK:    Right.

09:58:31   19              THE COURT:    You can --

09:58:32   20              MR. LYNK:    No interlocutory appeal was taken,

09:58:35   21   correct.

09:58:35   22              THE COURT:    I suspect, ultimately, we will have

09:58:37   23   cross-appeals, so I'm in double jeopardy here.        He stands

09:58:51   24   by my every day right there.      No.   I'm pointing to my

09:58:54   25   alabaster eagle.    He's always faithful.      He doesn't move.


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                             36

09:58:57   1    He's right there.

09:58:57   2             Thank you all very much.     It's good to see you.

09:59:00   3             You can be excused.    Thank you.

09:59:00   4             MS. AL-FUHAID:    Thank you, Your Honor.

09:59:00   5        (End of transcript)

           6

           7

           8

           9

           10

           11

           12

           13

           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                     37

1    UNITED STATES DISTRICT COURT     )

2    WESTERN DISTRICT OF TEXAS        )

3         I, Arlinda Rodriguez, Official Court Reporter, United

4    States District Court, Western District of Texas, do certify

5    that the foregoing is a correct transcript from the record of

6    proceedings in the above-entitled matter.

7         I certify that the transcript fees and format comply with

8    those prescribed by the Court and Judicial Conference of the

9    United States.

10        WITNESS MY OFFICIAL HAND this the 6th day of August 2024.

11

12                                  /S/ Arlinda Rodriguez
                                    Arlinda Rodriguez, Texas CSR 7753
13                                  Expiration Date: 10/31/2025
                                    Official Court Reporter
14                                  United States District Court
                                    Austin Division
15                                  501 West 5th Street, Suite 4152
                                    Austin, Texas 78701
16                                  (512) 391-8791

17

18

19

20

21

22

23

24

25


              ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
         U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
               A TTACHMENT 2:
O RDER S ETTING F URTHER S TATUS C ONFERENCE
                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

United States of America.,              §
      Plaintiff,                        §
vs.                                     §     NO: AU:23-CV-00853-DAE
                                        §
Greg Abbott, et al.                     §
      Defendants.                       §

          ORDER SETTING FURTHER STATUS CONFERENCE

      It is clear to this Court that the State of Texas misunderstands the substance

of the status conference held on August 6, 2024 in this matter. To avoid any

misunderstanding going forward, it is hereby ORDERED that the above entitled

and numbered case is set for a continued in person STATUS CONFERENCE

before Senior U.S. District Judge David Alan Ezra in Courtroom 2, on the Fourth

Floor of the United States Courthouse, 501 West Fifth Street, Austin, TX, on

Wednesday, August 07, 2024 at 10:00 AM. It is requested that Lanora C. Pettit,

Principle Deputy Solicitor General be present at the scheduled conference.

      In the event that lead counsel for the United States have returned to

Washington DC, it is acceptable that a local representative from the United States

Attorneys Office be present.

       IT IS SO ORDERED.

       DATED: Austin, Texas August 06, 2024.
______________________________
DAVID ALAN EZRA
SENIOR U.S. DISTRICT JUDGE
         A TTACHMENT 3:
 Transcript of Status Conference
Before The Honorable David A. Ezra
           August 7, 2024
                                                                      1

1                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
2                                 AUSTIN DIVISION

3    UNITED STATES OF AMERICA,                 ) AU:23-CV-00853-DAE
                                               )
4         Plaintiff,                           )
                                               )
5    v.                                        ) AUSTIN, TEXAS
                                               )
6    GREG ABBOTT, ET AL.,                      )
                                               )
7         Defendants.                          ) AUGUST 7, 2024

8

9

10             **********************************************
                       TRANSCRIPT OF STATUS CONFERENCE
11                   BEFORE THE HONORABLE DAVID A. EZRA
               **********************************************
12

13   FOR THE PLAINTIFF:       BRIAN H. LYNK
                              ANGELINE PURDY
14                            U.S. DEPARTMENT OF JUSTICE
                              ENVIRONMENTAL DEFENSE SECTION
15                            P.O. BOX 23986
                              WASHINGTON, D.C. 20026-3986
16
                              ANDREW D. KNUDSEN
17                            BRYAN JAMES HARRISON
                              KIMERE J. KIMBALL
18                            U.S. DEPARTMENT OF JUSTICE
                              ENVIRONMENT & NATURAL RESOURCES
19                            P.O. BOX 7611
                              WASHINGTON, D.C. 20044
20
                              LANDON ALLEN WADE
21                            UNITED STATES ATTORNEY'S OFFICE
                              903 SAN JACINTO BOULEVARD, SUITE 334
22                            AUSTIN, TEXAS 78701

23                            MARY F. KRUGER
                              UNITED STATES ATTORNEYS OFFICE
24                            CHIEF, CIVIL DIVISION
                              601 NW LOOP 410, SUITE 600
25                            SAN ANTONIO, TEXAS 78216


                ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
           U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                    2

1    FOR THE DEFENDANTS:     MUNERA AL-FUHAID
                             JOHNATHAN STONE
2                            ZACHARY BERG
                             KYLE STEPHEN TEBO
3                            OFFICE OF THE ATTORNEY GENERAL
                             PO BOX 12548
4                            AUSTIN, TX 78711-2548

5                            RYAN DANIEL WALTERS
                             OFFICE OF THE TEXAS ATTORNEY GENERAL
6                            SPECIAL LITIGATION DIVISION
                             209 WEST 14TH STREET, 7TH FLOOR
7                            AUSTIN, TEXAS 78701

8    APPEARING AT THE COURT'S REQUEST:
                          LANORA CHRISTINE PETTIT
9                         OFFICE OF THE TEXAS ATTORNEY GENERAL
                          OFFICE OF THE SOLICITOR GENERAL
10                        P.O. BOX 12548 (MC-059)
                          AUSTIN, TEXAS 78711-2548
11
     FOR MS. PETTIT:         JOSEPH N. MAZZARA
12                           OFFICE OF THE TEXAS ATTORNEY GENERAL
                             P.O. BOX 12548 (MC-059)
13                           AUSTIN, TX 78711-2548

14   COURT REPORTER:         ARLINDA RODRIGUEZ, CSR
                             501 WEST 5TH STREET, SUITE 4152
15                           AUSTIN, TEXAS 78701
                             (512) 391-8791
16

17

18

19

20

21

22

23

24   Proceedings recorded by computerized stenography, transcript

25   produced by computer.


              ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
         U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                              3

09:31:53   1        (Open court)

09:31:53   2             THE CLERK:     AU:23-CV-853, United States of

09:31:56   3    America v. Abbott, et al.

09:31:58   4             THE COURT:     May we have appearances, please.

09:32:02   5             MR. WADE:    Good morning, Your Honor.     This is

09:32:04   6    Landon Wade with the U.S. Attorney's office for the

09:32:06   7    Western District of Texas on behalf of the United States.

09:32:08   8             THE COURT:     Okay.   And we do have the other

09:32:10   9    lawyers who are appearing by phone.     Can we have their

09:32:13   10   appearances.

09:32:15   11            MR. LYNK:    Good morning, Your Honor.     This is

09:32:17   12   Brian Lynk.    And I believe on the phone with me are

09:32:25   13   Andrew Knudsen, Kimere Kimball, Bryan Harrison, our

09:32:27   14   supervisor Angeline Purdy, and Mary Kruger, also from the

09:32:31   15   U.S. Attorney's office.

09:32:33   16            THE COURT:     Okay.   Thank you.

09:32:34   17            And can I have for the State of Texas.

09:32:37   18            MR. WALTERS:     Good morning, Your Honor.

09:32:39   19            THE COURT:     Good morning.

09:32:39   20            MR. WALTERS:     Ryan Walters for the defendants.

09:32:43   21   With me are my colleagues Johnathan Stone, Munera

09:32:47   22   Al-Fuhaid, Zach Berg, and Kyle Tebo.

09:32:49   23            THE COURT:     Okay.   All right.   And I had

09:32:53   24   invited, but had not ordered, Ms. Pettit to be here.         Is

09:32:57   25   she here today?


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                       4

09:33:01   1                MR. MAZZARA:     Yes, Your Honor.     She's here, and

09:33:01   2    I'm representing her.       I'm her counsel, Joseph Mazzara,

09:33:04   3    for the purposes of this hearing today.

09:33:06   4                THE COURT:     Mr. Mazzara, are your licensed here

09:33:08   5    in the Western District of Texas.

09:33:09   6                MR. MAZZARA:     No.     But the courtroom deputy

09:33:12   7    requested that I come before the bar to sit here, just to

09:33:15   8    make it easy with the microphone.

09:33:17   9                THE COURT:     No.     I don't have a problem.       You

09:33:19   10   can sit right up here.       I have no concern where you're

09:33:22   11   sitting.    I just wanted to know whether you were

09:33:25   12   licensed.    Now, if you're not licensed, technically, you

09:33:28   13   cannot argue.

09:33:31   14               MR. MAZZARA:     Right.     Yes, Your Honor.     I

09:33:33   15   understand that.     But given the short notice of the

09:33:34   16   hearing, putting in a pro hac vice application didn't

09:33:40   17   seem to be feasible.       But, again, I'm just here on a very

09:33:44   18   limited capacity.

09:33:45   19               THE COURT:     All right.     Well, I -- let me --

09:33:46   20   let me clear any concerns that Ms. Pettit might have.                  If

09:33:51   21   I were here for the purpose of sanctioning Ms. Pettit,

09:34:00   22   the order would have said so.          It would have been an

09:34:03   23   order to show cause why she should not be sanctioned.

09:34:07   24               I am not sanctioning Ms. Pettit.        I am not mad

09:34:11   25   at Ms. Pettit.     I am not going to be criticizing


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                     5

09:34:17   1    Ms. Pettit personally.        I am concerned about the filing

09:34:21   2    that was made, and I'm going to be questioning her about

09:34:25   3    that filing.      But I am not in any way, shape, or form

09:34:31   4    going to be doing anything to her that she would require

09:34:38   5    an attorney.

09:34:40   6                 MR. MAZZARA:     Yes, Your Honor.    Except for the

09:34:42   7    fact that you're going to be questioning her.             She's an

09:34:44   8    attorney for the State, for sure, the second senior most

09:34:47   9    litigator, in fact, for the State of Texas.

09:34:50   10                THE COURT:     Well, I'm very pleased to have her

09:34:51   11   here.

09:34:52   12                MR. MAZZARA:     But he she's not made an

09:34:54   13   appearance in this case.

09:34:55   14                THE COURT:     Well, she did, actually.      She filed

09:34:58   15   this in this case.

09:35:00   16                MR. MAZZARA:     But --

09:35:00   17                THE COURT:     Yes, sir?

09:35:02   18                MR. MAZZARA:     In the appellate court.       Yes,

09:35:03   19   sir.

09:35:04   20                THE COURT:     Yes.    It doesn't matter.    We are

09:35:06   21   one federal court, sir.

09:35:08   22                MR. MAZZARA:     I understand that, Your Honor.

09:35:10   23   There are two case numbers.          But, again, she --

09:35:12   24                THE COURT:     Yeah.    Well, her filing was

09:35:15   25   rejected by the Court of Appeals.          Did you know that?


                            ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                       U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                 6

09:35:19   1             MR. MAZZARA:     Your Honor, I'm representing

09:35:21   2    Ms. Pettit in this matter.

09:35:22   3             THE COURT:     Yes.     I'm just asking you:    Were

09:35:24   4    you aware of that?

09:35:25   5             MR. MAZZARA:     No, I was not.     When was it

09:35:27   6    rejected, Your Honor?

09:35:28   7             THE COURT:     It was rejected yesterday.       The

09:35:29   8    case was closed.     You didn't know that it was rejected?

09:35:35   9    Did the State know it was rejected?

09:35:39   10            MR. STONE:     Your Honor, it was unfilled, but we

09:35:40   11   believe that it was refiled last --

09:35:41   12            MR. WALTERS:     It was refiled last night.

09:35:43   13            THE COURT:     Oh.     Did they refile it?

09:35:44   14            MR. WALTERS:     Yes, Your Honor.

09:35:45   15            THE COURT:     Okay.     Then I'm going to direct

09:35:47   16   that this transcript be filed, then.

09:35:51   17            MR. MAZZARA:     And I believe they circulated it

09:35:52   18   to the entire en banc court as well.

09:35:54   19            THE COURT:     Oh, okay.     Well, that was not -- I

09:35:56   20   was not made aware of that.       That's fine.

09:35:59   21            So I'd like Ms. Pettit to come forward.

09:36:04   22            MR. MAZZARA:     Yes, Your Honor.       Just a real

09:36:06   23   quick question before she does, just for the record.

09:36:08   24   What -- again, she's not an attorney in the case.          Are

09:36:10   25   you asking her to appear as a witness?


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                  7

09:36:12   1                THE COURT:     I'm not asking her to appear as a

09:36:14   2    witness.     She wrote a letter which addressed my comments

09:36:17   3    in this court, and I'm trying to find out the basis for

09:36:22   4    what she said, number one.

09:36:24   5                MR. MAZZARA:     Yes, Your Honor.

09:36:25   6                THE COURT:     Number --

09:36:25   7                MR. MAZZARA:     Sorry.

09:36:26   8                THE COURT:     Just a minute, sir.   Let the court

09:36:28   9    finish.     I will give you plenty of opportunity.

09:36:30   10               Number one.     I want to make sure that -- as I

09:36:36   11   thought when I left the bench yesterday, we were on even

09:36:41   12   keel here and knew where we were going with this case.

09:36:43   13   And then this thing comes flying in which raised some

09:36:47   14   concern to me.     So I need to address it so that I am

09:36:53   15   absolutely sure that going forward we are on the same

09:36:57   16   path.     And that has, sir, nothing to do with you.       That

09:37:02   17   has to do with the gentlemen who represent the State of

09:37:04   18   Texas.

09:37:05   19               MR. WALTERS:     Your Honor, in that light, we --

09:37:08   20   I'm sure the Court understands that we -- no one here

09:37:11   21   will be able to talk about any of the internal

09:37:14   22   deliberations within the Attorney General's Office or

09:37:17   23   with our clients about the motivation or decisions to

09:37:20   24   file this letter to the Fifth Circuit.

09:37:26   25               THE COURT:     I have no concern about that.    I'm


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                 8

09:37:27   1    not asking anybody about internal deliberations in the

09:37:30   2    Attorney General's Office.        That is not my purpose here.

09:37:39   3              MR. MAZZARA:     So, Your Honor, again, just for

09:37:42   4    Ms. Pettit, I mean, any questions regarding the letter

09:37:45   5    would be -- would fall under any number of privileges.

09:37:48   6              THE COURT:     No, it doesn't.     It's publicly

09:37:50   7    filed.

09:37:50   8              MR. MAZZARA:     Not the letter.     It's not the

09:37:52   9    words, the text of the letter itself, but any mental

09:37:56   10   impressions she had or any thought she had that went

09:37:57   11   into --

09:37:58   12             THE COURT:     I have every right and obligation

09:38:00   13   to address the matters that are in the letter, so you may

09:38:04   14   be seated, sir.

09:38:07   15             Now, Ms. Pettit, you were -- this is your

09:38:10   16   letter?   You wrote the letter?

09:38:12   17             MS. PETTIT:     Yes, sir.

09:38:12   18             THE COURT:     But you weren't here yesterday?

09:38:14   19             MS. PETTIT:     No, Your Honor.    As I noted in the

09:38:15   20   letter, I was not present.

09:38:17   21             THE COURT:     Right.    Now, you filed this under

09:38:19   22   Rule 28(j).   You had this filed.       It says:   Pursuant to

09:38:27   23   Rule 28(j), counsel notified the Court of developments

09:38:31   24   during today's status conference in which the court may

09:38:34   25   wish to be aware before it issues its forthcoming


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                             9

09:38:38   1    mandate.

09:38:41   2               MS. PETTIT:    Yes, Your Honor.

09:38:41   3               THE COURT:    That case is essentially closed,

09:38:43   4    but all right.    Let's talk about whether this is a Rule

09:38:46   5    28(j) letter, all right?

09:38:48   6               MS. PETTIT:    Your Honor, that is the nature of

09:38:50   7    the refilling.    The Court asked us to file it simply as a

09:38:53   8    letter and not pursuant to Rule 28(j), because the

09:38:55   9    opinion had been issued but not the mandate.

09:38:58   10              THE COURT:    Okay.   Well, it isn't a Rule --

09:39:00   11   what is it, then, if -- it's just an attempt to do what.

09:39:06   12              MS. PETTIT:    It's an attempt to keep the Court

09:39:08   13   apprised of developments similar to when this Court

09:39:11   14   issued a number of advisements.      We filed those under

09:39:14   15   Rule 28(j) as well because there was no way other -- that

09:39:16   16   we could tell, other than that under the rule --

09:39:18   17              THE COURT:    Well, when you initially filed it,

09:39:20   18   you filed it as Rule 28(j) letter, and it isn't -- as the

09:39:26   19   Court of Appeals has indicated, it isn't a Rule 28(j)

09:39:30   20   letter.    And the reason it isn't is because it doesn't

09:39:33   21   address any of the issues, whatsoever, that are before me

09:39:41   22   for the purposes of the hearing I had yesterday.

09:39:46   23              MS. PETTIT:    Your Honor, it apprised the Fifth

09:39:47   24   Circuit of the hearing yesterday, which has been at issue

09:39:50   25   in a number of prior letters that we filed.      And we were


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                             10

09:39:53   1    simply keeping the Court apprised.

09:39:55   2             THE COURT:     It has nothing to do with what we

09:39:57   3    were doing yesterday.     What we were doing yesterday was

09:40:00   4    going forward pursuant to the Fifth Circuit's ruling.

09:40:12   5    And the only issue that is now pending before the Fifth

09:40:16   6    Circuit, pending right now, is the issue of whether the

09:40:29   7    case is going to be tried to a jury or it's not going to

09:40:32   8    be tried to a jury.     That is the only issue, and that's a

09:40:37   9    mandamus petition.

09:40:40   10            MS. PETTIT:      Respectfully, Your Honor, the

09:40:41   11   mandate has not issued in the primary case.

09:40:44   12            THE COURT:     It doesn't matter whether the

09:40:45   13   mandate has issued or not.

09:40:47   14            MS. PETTIT:      The Court retains jurisdiction

09:40:49   15   until the mandate does.

09:40:51   16            THE COURT:     It doesn't matter.     There's no

09:40:52   17   litigation going on.    There is -- the United States

09:40:56   18   didn't file anything.     The State didn't file anything.

09:41:02   19   What happened here is you filed something which has

09:41:08   20   absolutely nothing to do with anything other than

09:41:13   21   attempting, I presume -- it isn't an appropriate filing.

09:41:18   22   You're not appearing in this case, are you?

09:41:20   23            MS. PETTIT:      No, Your Honor.    I do not

09:41:22   24   appear -- I did not appear in this case.

09:41:24   25            THE COURT:     So you're kind of a volunteer, and


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                              11

09:41:26   1    you write this letter to say -- you might as well just be

09:41:32   2    somebody sitting --

09:41:33   3             No.    Sit down.

09:41:37   4             MR. MAZZARA:       Your Honor, I just wanted to --

09:41:38   5             THE COURT:     No, sir.    Not yet.

09:41:42   6             MR. MAZZARA:       All right.

09:41:43   7             THE COURT:     I will give you plenty of

09:41:44   8    opportunity.

09:41:47   9             MR. MAZZARA:       Fair enough, Your Honor.     I just

09:41:48   10   want to, again, lodge an objection to this line of

09:41:51   11   questioning.

09:41:52   12            THE COURT:     I don't know what line of

09:41:53   13   questioning you're talking about that there's an

09:41:55   14   objection to.   All I'm saying is she's not appeared, and

09:41:59   15   she's acknowledged that she hasn't appeared.

09:42:00   16            MR. MAZZARA:       In this case, Your Honor, before

09:42:02   17   the trial court.

09:42:02   18            THE COURT:     That's correct.

09:42:04   19            MR. MAZZARA:       Okay.

09:42:05   20            THE COURT:     She hasn't appeared here.

09:42:09   21            MR. MAZZARA:       She has appeared in the Fifth

09:42:10   22   Circuit and argued the en banc case.

09:42:13   23            THE COURT:     That's fine.     That is fine.

09:42:15   24            MR. MAZZARA:       But I also still stand on the

09:42:17   25   objection about this line of questioning into


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                12

09:42:20   1    the appellate --

09:42:20   2                THE COURT:     Counsel, listen.   If you don't

09:42:22   3    listen to me, I'm going to have to ask you to step

09:42:26   4    outside.     I told you I would give you plenty of

09:42:29   5    opportunity to address the court, and you will have that

09:42:34   6    opportunity and I respect your opportunity to do so.           But

09:42:39   7    I can't have you jumping up like a jack-in-the-box every

09:42:42   8    two minutes.

09:42:44   9                MR. MAZZARA:     Understood, Your Honor.

09:42:45   10               THE COURT:     You're not even a member of this

09:42:47   11   court.     You're lucky that I'm even letting you say

09:42:52   12   anything here.

09:42:53   13               MR. MAZZARA:     Thank you, Your Honor.

09:42:55   14               THE COURT:     So you wrote this letter, not

09:43:01   15   having been present, and your letter unfortunately

09:43:04   16   contains a number of inaccuracies.

09:43:09   17               MS. PETTIT:     Respectfully, sir, we have checked

09:43:12   18   it against the transcript that we got last night, and we

09:43:16   19   consider it to be accurate and stand behind everything.

09:43:18   20               THE COURT:     I'm very happy you did.     I can

09:43:20   21   assure you we did, and I know what I said.

09:43:22   22               So let's go through it, okay?

09:43:25   23               MS. PETTIT:     Certainly.

09:43:26   24               THE COURT:     First of all, you make a big deal

09:43:29   25   out of the fact that, without prompting from either


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                              13

09:43:32   1    party, the District Court raised the possibility that

09:43:37   2    Judge Willett's opinion from the en banc court might not

09:43:41   3    be precedential based on unspecified voices and chatter

09:43:45   4    the District Court had heard or read from ex parte

09:43:48   5    sources who suggested that the opinion was not entirely

09:43:51   6    clear.

09:43:51   7               That is absolutely true.    That is true.   I will

09:43:57   8    agree with you.    I did raise it.    The implication here is

09:44:02   9    that the court did so for the purpose of attempting to

09:44:06   10   encourage or announce its belief that Judge Willett's

09:44:11   11   opinion was not precedential or that I did not have the

09:44:15   12   authority or the right to raise it ex parte.

09:44:21   13              Let me read something to you, okay?    This is

09:44:23   14   from the Fifth Circuit.     It comes from a case called

09:44:30   15   Ioannides v. The University of Texas M.D. Anderson

09:44:33   16   Center, 418 F. App'x 269.     It's a Fifth Circuit 2011

09:44:39   17   case.    I presume it's unpublished, but it's okay.

09:44:41   18              Here's what it says:   The District Court did

09:44:45   19   not error by considering substantive process issues

09:44:53   20   sua sponte, because the parties briefed it.      As long as

09:44:57   21   the parties are given notice and opportunity to brief an

09:45:00   22   issue, the court can consider it sua sponte.      Any issue.

09:45:06   23   Ultimately, what matters is the party knew the issue

09:45:09   24   could be considered by the District Court.      So here we

09:45:14   25   are asking the parties to brief what the law is


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                              14

09:45:17   1    applicable at the bench trial, giving the parties notice

09:45:21   2    and ability to brief it.

09:45:23   3             That was precisely what I was doing.      I was

09:45:29   4    calling the issue to the attention of the parties, which

09:45:33   5    is not only my right, it is my obligation.

09:45:41   6             MS. PETTIT:    Yes, Your Honor.

09:45:43   7             THE COURT:    You got that?

09:45:44   8             MS. PETTIT:    Yes, Your Honor.

09:45:44   9             THE COURT:    Okay.    And I wanted to give the

09:45:46   10   parties the opportunity to brief it.     This was written in

09:45:50   11   the sense that I was somehow being proactive in

09:45:57   12   supporting the theory that Judge Willett's opinion was

09:46:03   13   not precedential, and I went out on my own to find an

09:46:09   14   issue and then to encourage the parties to brief it.         You

09:46:13   15   make another misstatement there also, by the way, that

09:46:16   16   you will find is not in the -- in the record.      I'll get

09:46:21   17   to that in just a minute.

09:46:22   18            So do you know who Judge Posner is?

09:46:33   19            MS. PETTIT:    Yes, Your Honor.

09:46:33   20            THE COURT:    Okay.   Well, here's what

09:46:36   21   Judge Posner says about this.     He says:   They want to do

09:46:42   22   justice as well as merely not umpire disputes.      And they,

09:46:48   23   the district courts, should not be criticized when they

09:46:51   24   point out to counsel a line of argument or inquiry that

09:46:55   25   has been overlooked.


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                             15

09:47:03   1                 Courts of appeals -- and I know because I sat

09:47:06   2    on the Ninth Circuit Court of Appeals for 35 years -- and

09:47:10   3    district courts regularly ask the parties sua sponte to

09:47:18   4    brief issues that the parties may not have been aware of

09:47:22   5    or which the court feels should be briefed on both sides.

09:47:32   6                 So long as the court gives the parties the

09:47:35   7    opportunity to do so, and then fairly and adequately

09:47:40   8    reviews those briefings and takes them under

09:47:46   9    consideration, this circuit and every single circuit has

09:47:54   10   said, including the Supreme Court -- which often does

09:47:58   11   this, by the way -- that it is appropriate and, at times,

09:48:05   12   necessary.

09:48:07   13                It is not and was not my intent, as you seem to

09:48:13   14   imply here, to give to the parties some sort of marching

09:48:24   15   orders.   You did not point out in your letter, which it

09:48:29   16   would have been fair for you to do if you were trying to

09:48:33   17   write a balanced letter, that I had mentioned at least

09:48:39   18   three to four times emphatically that I have not made up

09:48:45   19   my mind in this matter; that I indeed might find

09:48:54   20   Judge Willett's opinion precedential.

09:48:56   21                In fact, it is my fallback, and always has been

09:49:02   22   for the over 30 years I've been on the bench, that when a

09:49:07   23   majority opinion comes out, even if there are strong

09:49:10   24   dissents, to follow that majority opinion.     And my

09:49:14   25   inclination is to do so here.


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                16

09:49:16   1              But there is an issue, and that issue needs to

09:49:22   2    be briefed.     Here's the reason:     This case is not going

09:49:26   3    to end with the Fifth Circuit.        If by sending this letter

09:49:32   4    it was your intent to alert Judge Ho that he had not

09:49:38   5    written on this issue and to try to get him to amend his

09:49:41   6    opinion, that might work.     I don't know.     It wouldn't

09:49:47   7    look good, but it might work.        I --

09:49:55   8              You'll get a chance.

09:49:58   9              So that's number one.       What you should have

09:50:03   10   said in this letter, if you were trying to be, as you

09:50:08   11   say, just informing the Fifth Circuit, is that, oh, by

09:50:12   12   the way, Judge Ezra did say on multiple occasions that he

09:50:17   13   did not have his mind made up and that he might indeed

09:50:22   14   rule for Judge -- that Judge Willett's opinion was

09:50:26   15   precedential.     But you didn't do that.

09:50:27   16             This is a -- this isn't a letter informing

09:50:31   17   them.   It wasn't a 28(j) letter.       This was an argument.

09:50:35   18   This is an argument trying to get the Fifth Circuit,

09:50:38   19   either Judge Willett to rewrite his opinion or to get

09:50:46   20   Judge Ho to change his opinion or to get judge -- Chief

09:50:49   21   Judge Richman to somehow change her opinion.        That's

09:50:54   22   what -- I mean, it's pretty obvious.

09:50:56   23             So let's go on.

09:50:57   24             You say:    Although undersigned was not present,

09:51:07   25   the District Court reportedly opined that we have a


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                              17

09:51:10   1    nine-nine split.

09:51:11   2                What I said is it appears that there's a

09:51:14   3    nine-nine split.    It could be a nine-nine split.       I don't

09:51:18   4    know.   And even if there were, what's the effect of it?

09:51:25   5    I don't know that either.

09:51:26   6                What I do know is that Judge Ho did not opine

09:51:34   7    at all on the issue.      He took a totally different tack.

09:51:40   8    He felt that the case should be dismissed out of hand for

09:51:47   9    jurisdictional reasons.      So he partially dissented,

09:51:50   10   actually.    And we do know that Chief Judge Richman did

09:51:57   11   not agree with the majority, in part.         She joined in

09:52:00   12   judgment, but she did not agree with the majority's

09:52:03   13   reasoning that the way you -- on the way that you judge

09:52:11   14   navigation, which was a hallmark of Judge Willett's

09:52:16   15   opinion.    We know she didn't agree with that.

09:52:18   16               So that leaves -- that leaves us with some

09:52:23   17   uncertainty.    I mean, you're a lawyer, right?

09:52:27   18               MS. PETTIT:    Yes, Your Honor.

09:52:28   19               THE COURT:    And you're a good one --

09:52:30   20               MS. PETTIT:    Thank you, Your Honor.

09:52:31   21               THE COURT:    -- or you wouldn't be in your

09:52:32   22   position.    So you have to understand that.

09:52:37   23               Now, you say, we have -- and then you say, and

09:52:42   24   in quotes, as if this was all I said:         Because

09:52:47   25   Judge Richman did not agree with the majority --


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                 18

09:52:50   1                 I didn't say that.   I didn't say she didn't

09:52:52   2    agree with the majority.      I said she didn't agree with

09:52:54   3    the majority on the navigation issue only, which she

09:52:59   4    didn't.

09:53:01   5                 -- and the separate opinion by Judge Ho.      And

09:53:06   6    here you put this in quotes, "did not say anything at

09:53:09   7    all," as if I was criticizing Judge Ho.

09:53:13   8                 So let me make it very clear.   I said

09:53:16   9    specifically that I was not criticizing Judge Ho.       I said

09:53:22   10   that specifically.     And I didn't say he didn't say

09:53:26   11   anything at all.     I said he didn't say anything at all on

09:53:30   12   this issue, which he didn't.      Not that he didn't say

09:53:36   13   anything at all, as if he wrote a bunch of nonsense.         I

09:53:39   14   didn't say that.     So why you left that out, I don't know.

09:53:47   15                Now, you say:   Accordingly, the District Court

09:53:51   16   ordered the parties to file additional briefs no later

09:53:54   17   than September 20th -- that's true -- addressing the

09:53:58   18   impact of the Court's en banc decision.      That's also

09:54:02   19   true.     In the process the District Court provided

09:54:06   20   citations to decisions that neither party had previously

09:54:11   21   raised.

09:54:13   22                That's true: Supreme Court cases.   I have every

09:54:19   23   responsibility to draw the parties' attention to

09:54:23   24   precedent.     I believe that the Fifth Circuit is bound by

09:54:28   25   the Supreme Court.     I certainly am.


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                             19

09:54:32   1              MS. PETTIT:    Certainly, Your Honor.

09:54:33   2              THE COURT:    Either party -- and then you say:

09:54:35   3    Either party might consider citing in support of an

09:54:40   4    argument the District Court need not follow

09:54:43   5    Judge Willett's opinion.

09:54:44   6              That is absolutely false.     I did -- I dare you

09:54:49   7    to find, or any of your lawyers, anywhere in the

09:54:55   8    transcript where I said that, or even implied, these are

09:55:05   9    the cases that support an argument and I wanted them -- I

09:55:13   10   wanted the parties to follow that argument.

09:55:16   11             I said the opposite, the exact opposite.       I

09:55:22   12   said these are cases that are out there.     They do show

09:55:28   13   situations where there has been a split.     I even gave as

09:55:40   14   support a case in which I handled as a member of the

09:55:42   15   Ninth Circuit Panel where there was a four-four split

09:55:47   16   because Justice Kagan could not participate because she

09:55:51   17   had been Solicitor General.     And, on top of that, I said

09:56:03   18   that that was just an example.

09:56:05   19             But guess what?     Where there is a four-four

09:56:08   20   split in the Supreme Court, it gets remanded to the

09:56:14   21   Circuit Court, the decision is upheld, but it isn't

09:56:17   22   precedential.   You know that, right?    You're a good

09:56:19   23   lawyer.

09:56:20   24             MS. PETTIT:    It is precedential only to the

09:56:22   25   extent of what the issue was decided, but it is not


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                               20

09:56:24   1    precedent for any arguments that were presented.

09:56:27   2              THE COURT:    You're right, and you are correct.

09:56:30   3    It is only precedential in the Ninth Circuit.       It isn't

09:56:33   4    nationwide precedent.

09:56:34   5              MS. PETTIT:    Yes, Your Honor.

09:56:35   6              THE COURT:    Because the Supreme Court did not

09:56:36   7    make a decision.

09:56:38   8              MS. PETTIT:    Correct, Your Honor.

09:56:39   9              THE COURT:    So I did not under any

09:56:44   10   circumstances tell the parties to look at these cases for

09:56:47   11   the purpose of finding Judge Willett's opinion to be

09:56:52   12   nonprecedential, as you say in this letter.      I didn't do

09:56:55   13   that.   You won't find it in the record.    I looked again

09:56:59   14   to make sure.   My law clerks looked again to be sure.

09:57:06   15   It's not there, because I didn't do it.     It is

09:57:12   16   misleading.

09:57:20   17             Now, the District Court also ordered the party

09:57:22   18   to refile any pretrial filings and motions in limine on

09:57:27   19   October 28th, with objections to follow on October 30th.

09:57:31   20             That was at the request of your own lawyers.

09:57:39   21             Meanwhile, the District Court opined a lot of

09:57:41   22   people are shaking their heads at why the -- why Texas

09:57:45   23   demand for a jury trial.

09:57:46   24             It's true.    I can't -- I personally, as I sit

09:57:55   25   here, don't know why Texas would want a jury trial in


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                    21

09:57:58   1    this case.     You see, I presumed you would want a jury

09:58:02   2    trial if you thought that you had a sympathetic plaintiff

09:58:11   3    or you had an issue which was somehow primed for a jury.

09:58:23   4    This is on equitable case.

09:58:27   5                 Would you like some water.

09:58:29   6                 MS. PETTIT:    No, thank you, Your Honor.

09:58:30   7                 THE COURT:    Okay.   An equitable case.       That was

09:58:32   8    just an offhand comment.       It wasn't anything more than an

09:58:36   9    offhand comment.      It had no precedential value.         Who

09:58:45   10   cares?     You've asked for a jury.     The Fifth Circuit is

09:58:49   11   looking at it, and they will rule.        And whatever they

09:58:51   12   rule, I will abide by.       It doesn't matter to me.

09:58:56   13                But let's not forget something.      It appears the

09:59:00   14   State of Texas has some idea in its head -- from where, I

09:59:04   15   don't know -- that I am not the right judge for this case

09:59:09   16   because I've already made up my mind.          I haven't.     Or

09:59:14   17   that I am prejudiced against the State of Texas.             I am

09:59:17   18   not.

09:59:18   19                Let's look at a little history.      Not that long

09:59:25   20   ago there was a law passed by the Texas State

09:59:31   21   Legislature, a very popular law by some and unpopular by

09:59:37   22   others, called the fetal burial law.        Are you familiar

09:59:41   23   with that?

09:59:41   24                MS. PETTIT:    Yes, Your Honor.

09:59:42   25                THE COURT:    Okay.   Guess who handled that case?


                            ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                       U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                             22

09:59:44   1              MS. PETTIT:    I believe you did, Your Honor.

09:59:46   2              THE COURT:    I did.   Now, the only decision that

09:59:49   3    had been rendered on that exact law was rendered by the

09:59:55   4    Tenth Circuit.    They had ruled that that statute -- not

10:00:03   5    the Texas one, but the one that they were dealing with,

10:00:06   6    which is exactly the same -- was flat-out

10:00:11   7    unconstitutional, and they struck it down.

10:00:15   8              And then there was an appeal by the State to

10:00:17   9    the United States Supreme Court which was pending at the

10:00:21   10   time I made my ruling.     So the only decision out there on

10:00:26   11   the fetal burial law was that it was unconstitutional,

10:00:30   12   and that was by a circuit court of appeals, not a

10:00:33   13   district court.

10:00:33   14             I looked at it very carefully, and my view was

10:00:41   15   that the Tenth Circuit was wrong, that Texas was right,

10:00:43   16   and I ruled for the State of Texas that the law was in

10:00:46   17   fact constitutional.     Subsequently, the Supreme Court

10:00:55   18   reversed the Tenth Circuit and found the law

10:00:59   19   constitutional.

10:01:02   20             Now, we didn't get a full ruling on that case

10:01:04   21   because that case basically mooted the issue.     It went

10:01:12   22   away.   So Judge Costa and the rest of that panel end up

10:01:18   23   dismissing the case.     That was a big ruling, it was a

10:01:23   24   tough ruling, and I ruled for the State, as I have in

10:01:26   25   many other cases, including this one.


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                   23

10:01:30   1                 In this case the United States had two causes

10:01:33   2    of action.     After very thorough briefing, and it was a

10:01:40   3    very tough issue, I ruled for the State of Texas in this

10:01:43   4    case and dismissed that cause of action.

10:01:47   5                 Are you aware of that?

10:01:49   6                 MS. PETTIT:     Yes, Your Honor.

10:01:50   7                 THE COURT:     All right.   Now, finally, let's get

10:01:57   8    to the last part of it, because this is what really kind

10:02:01   9    of made me -- really got me puzzled.

10:02:09   10                You say:     Texas' demand for a jury trial, and

10:02:18   11   indicated that I may reopen discovery, but only if the

10:02:24   12   Fifth Circuit holds Texas is entitled to a jury.           Okay.

10:02:32   13   Because the circumstances would have changed, in my view.

10:02:39   14                This was put in here, for whatever reason, I

10:02:43   15   presume to indicate that somehow I was favoring the

10:02:47   16   federal government by reopening discovery.           Let me read

10:02:51   17   you, if I may, from the transcript of what Mr. Walters --

10:02:59   18                Help me find this, will you, Rose?

10:03:01   19                -- what Mr. Walters said, because I thought

10:03:03   20   Mr. Walters made an excellent point.         Okay?    Can you help

10:03:09   21   me find -- right here on my papers somewhere.           Where is

10:03:14   22   it?    Because I don't want to keep them here unnecessarily

10:03:19   23   for a long time while I'm searching for this.           You had

10:03:25   24   highlighted what Mr. Walters had said somewhere.

10:03:35   25                Come up here.     Help me find it.


                           ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                      U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                24

10:04:01   1                I want to quote you correctly, Mr. Walters.

10:04:03   2                MR. WALTERS:     I appreciate it, Your Honor.

10:04:12   3                THE COURT:     Okay.   Here's the discussion that

10:04:15   4    you were so concerned about, all right?        It started with

10:04:17   5    Mr. Lynk.    This is where I said I may reopen discovery.

10:04:23   6                "MR. LYNK:     Understood.   On August the 2nd, on

10:04:27   7    Friday, obviously, there were a number of things that

10:04:30   8    originally were due, and we understood that those were

10:04:34   9    suspended as of last week under the -- in the

10:04:37   10   circumstances.

10:04:39   11               "THE COURT:     What were those?

10:04:41   12               "Generally, the response to July 26th pretrial

10:04:44   13   filing: objections to witnesses, objections to things

10:04:47   14   like, that."     That's Mr. Lynk.

10:04:50   15               "THE COURT:     Those I think probably should

10:04:53   16   wait.   And the reason for this is that we're still

10:04:59   17   waiting to figure out whether we have a jury or we don't

10:05:02   18   have a jury.     And you may decide to go with certain

10:05:07   19   witnesses if you have a jury.        I may even allow, because

10:05:13   20   if -- if it stays the way it is, if the Fifth Circuit

10:05:16   21   rules there is no jury in this case, because it's

10:05:19   22   equitable, then I won't reopen.

10:05:21   23               "But if we -- if we have a change in the

10:05:24   24   landscape and say, well, you're going to have a jury now

10:05:30   25   out of the blue, then I may allow the parties to add


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                             25

10:05:33   1    additional witnesses.    And that may impact our trial

10:05:36   2    date."

10:05:36   3             In fairness to both parties, by the way.

10:05:42   4             "MR. WALTERS:    We would suggest that if the

10:05:47   5    Court is considering reopening discovery -- so we don't

10:05:51   6    know that yet, whether the Department of Justice wants

10:05:53   7    that -- when the Fifth Circuit rules on our right to a

10:05:56   8    jury trial --

10:05:58   9             "THE COURT," here's what I say:      "I can assure

10:06:00   10   you that will not happen if they deny the request for a

10:06:05   11   jury trial, only because then that -- that means that the

10:06:08   12   tenor of the case has been the same since its inception."

10:06:11   13            It was only recently that Texas really asked

10:06:15   14   for a jury.

10:06:17   15            All right.

10:06:17   16            "MR. WALTERS:    Right.    What we're saying --"

10:06:22   17            And this is the Court, but -- this is me, now.

10:06:25   18            "But if they -- if they say the State gets a

10:06:29   19   jury or gets a partial jury trial on some issues but not

10:06:34   20   others, then I would consider it.     I'm not saying I would

10:06:37   21   grant it, but I would certainly consider it."

10:06:40   22            Now, here's the critical part.      This is

10:06:45   23   Mr. Walters, your lawyer.

10:06:47   24            "But, Your Honor, I guess our position is that,

10:06:51   25   if the Fifth Circuit were to find we are entitled to a


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                 26

10:06:55   1    jury trial, the Court would have to resolve these motions

10:06:58   2    again because the standard would be different.         So we

10:07:07   3    would suggest not wasting the Court's time in resolving

10:07:10   4    these motions before we get a ruling from the

10:07:12   5    Fifth Circuit on --"

10:07:15   6                 Then I say:     "I don't know that the legal

10:07:16   7    standard would be different."

10:07:19   8                 And here's Mr. Walters:

10:07:22   9                 "Well, the standard for considering, like,

10:07:25   10   experts" -- which is what I was concerned about --

10:07:28   11   "whether they're going to be excluded or not, would be

10:07:30   12   different."

10:07:31   13                And here's what I say to Mr. Walters:

10:07:34   14                "Oh, I see what you're saying, in a practical

10:07:37   15   sense.     Yeah.   I would agree with you.     I told you I will

10:07:42   16   take a look at it.      I haven't made up my mind on that,

10:07:46   17   yet.     I'll take a good look at it, okay?

10:07:49   18                "MR. WALTERS:     Thank you."

10:07:52   19                That's what that was all about.      Your side

10:08:00   20   appropriately, because they're trial lawyers and they're

10:08:05   21   good ones, is concerned that if the tenor of the case

10:08:08   22   changes from a nonjury trial to a jury trial, they may

10:08:12   23   need or may ask me to add an additional witness or two

10:08:16   24   because they've got to prove the case to the jury.

10:08:18   25                I have been involved in this case for a very


                            ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                       U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                 27

10:08:22   1    long time, and I understand the landscape.         I know what's

10:08:29   2    there.     I've heard lots and lots of testimony in this

10:08:32   3    case.     So they would not have to educate me on the facts

10:08:39   4    or on the expert opinions, because I've heard it, or at

10:08:46   5    least part of it.

10:08:49   6                 But a jury is different.     They come in with a

10:08:54   7    clean slate.      They have not heard it.     They have not seen

10:08:57   8    it.     They don't know what it's all about.      So they need

10:09:02   9    to be carefully educated.        That was my concern.

10:09:11   10                You can be seated.     Thank you very much.

10:09:13   11                MS. PETTIT:     Thank you.

10:09:17   12                MR. WALTERS:     Your Honor, if I could just ask a

10:09:19   13   brief question.      In our -- in the letter that was filed

10:09:21   14   in the Fifth Circuit, the last line references this:

10:09:24   15   When transcripts became available, we would submit them

10:09:29   16   to the Fifth Circuit.        I understand Your Honor has

10:09:32   17   expressed a lot of concern about the Fifth Circuit not

10:09:35   18   getting the full context of what occurred in yesterday's

10:09:38   19   hearing.     So we would ask for your direction as to

10:09:41   20   whether you would like the rough transcripts of both

10:09:44   21   yesterday --

10:09:44   22                THE COURT:     The final transcript is done, is it

10:09:47   23   not?     The final transcript is done.      I'm not trying to

10:09:53   24   hide anything from the Fifth Circuit.         Believe me.   First

10:09:57   25   of all, I've spent 35-plus years of my life having


                            ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                       U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                  28

10:10:01   1    everything I said put down in writing.       I'm not running

10:10:09   2    away from yesterday.

10:10:11   3                What worries me and gave me concern is that

10:10:15   4    this letter -- I'm not saying that Ms. Pettit did this

10:10:22   5    intentionally.    I -- to be honest with you, I've heard

10:10:26   6    nothing but good things about Ms. Pettit, to be honest

10:10:30   7    with you.    I've heard that she's a good lawyer, and I

10:10:34   8    heard that she does her job well.       And I have no personal

10:10:40   9    animus whatsoever against Ms. Pettit.

10:10:45   10               But my concern is this.     My concern is this:

10:10:51   11   Somebody -- and I don't think it's really Ms. Pettit.

10:10:54   12   But somebody seems to think that by sending a letter like

10:10:59   13   this in to the Fifth Circuit, they are in a position to

10:11:07   14   influence the Fifth Circuit to do something they might

10:11:10   15   not otherwise do.     Why else would the letter be sent?

10:11:17   16               And I don't even know whether she actually

10:11:20   17   drafted the letter.      My -- maybe, but maybe not.      The

10:11:25   18   point is that it contains some flat-out inaccuracies, but

10:11:32   19   more important than that, half-truths.       Things are taken

10:11:36   20   out of context.     And that -- that's a shame.       The Fifth

10:11:42   21   Circuit deserves better than that.       You can be seated,

10:11:45   22   Counsel.

10:11:45   23               MR. WALTERS:     Thank You, Your Honor.

10:11:50   24               MR. STONE:     I just wanted to add one thing.

10:11:50   25   I'm sorry you feel that way.       I want to add something


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                   29

10:11:52   1    that -- just a point of correction for the last point

10:11:53   2    that you were making with Ms. Pettit, specifically about

10:11:56   3    reopening discovery.

10:11:57   4                 At no point did Texas indicate that we were

10:12:00   5    open to reopening discovery or that that was even on the

10:12:03   6    table.   That discussion that you quoted from Mr. Walters

10:12:06   7    was specifically in reference to deciding motions like

10:12:08   8    motions in limine.

10:12:09   9                 THE COURT:    Well, first of all, Mr. Walters can

10:12:11   10   speak for himself.        But, in any event, go ahead.

10:12:14   11                MR. STONE:    It was specifically in reference

10:12:16   12   things like motions in limine.

10:12:17   13                THE COURT:    Yeah.   I don't see anything here

10:12:19   14   that says anything about motions in limine.

10:12:22   15                MR. STONE:    As well as experts, Your Honor.         We

10:12:23   16   filed motions to exclude.

10:12:24   17                THE COURT:    It doesn't -- but, Counsel, it

10:12:25   18   doesn't matter.     It doesn't matter.     I said clearly that

10:12:31   19   I had not made up my mind as to whether I would reopen

10:12:36   20   discovery.     I would hear argument on that.     It just means

10:12:41   21   that I had not made a decision, and the tenor of the

10:12:46   22   letter that was sent indicated that I had.        And I hadn't.

10:12:50   23   And I made that very clear to Mr. Walters.

10:12:53   24                I said I would agree with you there.        I agree

10:12:58   25   with Mr. Walters.     I frequently agree with Mr. Walters.


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                30

10:13:02   1    I agree with you there.         I told you I will take a look at

10:13:05   2    it.    I haven't made up my mind on that yet.        I will take

10:13:10   3    a very good look at it.

10:13:13   4                That's what I said.      So you can be seated.

10:13:17   5                MR. STONE:    Your Honor, although I will add

10:13:18   6    just for the record that I don't think that that final

10:13:19   7    sentence in the letter doesn't -- I think it says exactly

10:13:22   8    that, that you were open to the possibility of reopening

10:13:25   9    discovery depending on whether or not -- depending on the

10:13:27   10   outcome of that jury issue.         That's what the letter said,

10:13:32   11   Your Honor, just so the record reflects that.          Thank you.

10:13:32   12               THE COURT:    Let me look at it.     I don't have it

10:13:32   13   right in front of me.       What did I do with it?

10:13:48   14               MR. STONE:    I can read the sentence.

10:13:50   15               THE COURT:    No.    It's okay.   I'm looking for

10:13:51   16   it.    I'll find it.     It's here somewhere.    Here it is.    We

10:14:15   17   found it.     It got buried.

10:14:38   18               Okay I don't know why this sentence was put in

10:14:40   19   the letter.     I mean, it just doesn't make sense to me.          I

10:14:44   20   mean, why is it here?

10:14:45   21               MR. STONE:    Because Texas will be materially

10:14:48   22   prejudiced if you reopen discovery, in our opinion.

10:14:50   23               THE COURT:    That's something we will decide.

10:14:52   24               MR. STONE:    Agreed, Your Honor.

10:14:53   25               THE COURT:    And I said that.


                           ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                      U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                              31

10:14:55   1               MR. STONE:    Yeah.

10:14:55   2               THE COURT:    But why is it here?   Why is it in

10:14:59   3    this letter?   What does it have to do with anything?        It

10:15:02   4    doesn't have to do with anything.

10:15:05   5               The real key to this letter is Texas was trying

10:15:09   6    to leave the impression with the en banc court that I had

10:15:15   7    made a decision or that I had somehow indicated, God

10:15:26   8    forbid, that there was an issue with respect to which was

10:15:33   9    the controlling opinion, if any.     And that is a terrible

10:15:39   10   thing to do.

10:15:41   11              You know, I'll tell you what the worst part of

10:15:44   12   this is.   And I don't think it's true.    I really don't

10:15:49   13   think it's true.     It could leave somebody with the

10:15:54   14   impression that the State of Texas thinks they've got the

10:15:57   15   Fifth Circuit in their back pocket.

10:15:59   16              Now, I don't think you believe that.     I really

10:16:04   17   don't think the Attorney General's Office believes that

10:16:08   18   they have the State of Texas in their back pocket and

10:16:12   19   they can just file anything they want, prejudice the

10:16:17   20   Court against this Court, and get a successful ruling.            I

10:16:21   21   do not believe the Attorney General's Office believes

10:16:24   22   that.   If I did, you would know it.

10:16:31   23              MS. PETTIT:    Your Honor, for the record, we

10:16:33   24   definitely do not.

10:16:34   25              THE COURT:    You don't have to tell me that.      I


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                32

10:16:36   1    already said I don't believe that you do.        But somebody

10:16:40   2    who just read this and would say why did they send this

10:16:43   3    in?    What was purpose of it?     What is the big, important

10:16:49   4    issue here?     I don't know.    I don't know why it was sent

10:17:00   5    in.    It was ill-advised.

10:17:03   6                It really shouldn't have been sent, because

10:17:06   7    it's neither a Rule 28(j) letter -- and if it's not a

10:17:10   8    28(j) letter, what is it?       It's just a notice to the

10:17:15   9    Fifth Circuit that, gosh, you know that Judge David Ezra

10:17:19   10   actually said that, with this big split court, there

10:17:27   11   might be an issue as to whether Judge Willett's opinion

10:17:32   12   is precedential.     Heaven forbid.

10:17:41   13               Do you think Judge Willett, who I know well and

10:17:44   14   who is a fine United States Circuit Judge of the highest

10:17:49   15   integrity, is going to read this and not sleep at night

10:17:54   16   and just say, oh, my God?       He's going to read the

10:17:58   17   transcript, and he's going to see that David Ezra said in

10:18:02   18   multiple places that I have no opinion on that at all.

10:18:10   19               And I will say it again.     My fallback position

10:18:15   20   is that Judge Willett's opinion is precedential, and I'm

10:18:21   21   inclined to find that it is.       And I'll say that.

10:18:26   22               But there is an issue.     We have a deeply

10:18:32   23   divided opinion.     And it is in Judge -- and it's a fact

10:18:40   24   that Judge Ho did not weigh in on this issue.        Maybe he

10:18:44   25   will now.     Maybe he'll file some sort of an amended


                           ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                      U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                 33

10:18:48   1    opinion now that he's gotten your letter.         I don't know.

10:18:51   2    But he could do that at any time.        Maybe that was the

10:18:55   3    purpose of it.     I don't know.    I hope not.    Or maybe

10:19:00   4    Judge Willett will file -- I have no idea.

10:19:07   5                 But I surely don't understand, and have never

10:19:12   6    in my entire career -- and I've handled big cases all

10:19:21   7    across the country, big ones, much bigger than this.            And

10:19:29   8    I've handled big cases sitting on the Court of Appeals.

10:19:31   9    I have never seen a letter like this filed, ever.

10:19:39   10                And maybe I'm just naive.    No judge that I've

10:19:48   11   raised this with and talked to about this, just asked

10:19:54   12   them if this is a policy or if they've ever seen it,

10:19:57   13   nobody had ever seen it.      And we're talking about

10:20:00   14   conservative judges now that I talked to.         Nobody had

10:20:03   15   ever seen it or heard of it.

10:20:09   16                And at the time we thought it was a rule, as

10:20:16   17   you put it originally, a Rule 28(j) letter.         They said,

10:20:22   18   Well, that's obviously not a 28(j) letter.

10:20:28   19                And if it's not a 28(j) letter, then what is

10:20:33   20   it?    It's just telling them that I had a status

10:20:36   21   conference with the parties, I raised an issue which I

10:20:39   22   had heard -- I actually hadn't thought about it myself

10:20:43   23   initially.     I just read Judge Willett's opinion, I read

10:20:46   24   all the other opinions and I just let it go at that and

10:20:50   25   set the status conference.


                           ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                      U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                34

10:20:51   1              But then I heard some chatter.     And then I

10:20:59   2    looked at it more carefully, and I thought this is

10:21:02   3    probably an issue that should be briefed, that we should

10:21:07   4    look at carefully, because this case may well not end

10:21:14   5    with the Fifth Circuit, regardless of what they do.        It

10:21:18   6    could go to the Supreme Court.

10:21:21   7              And if I just take one position or another

10:21:27   8    without getting the full briefing of both sides and

10:21:30   9    carefully considering it, and it goes up to the Supreme

10:21:35   10   Court and they say, Wow, Ezra was wrong, that wasn't a

10:21:39   11   precedential opinion, he shouldn't have treated it as

10:21:42   12   such, or it was a precedential opinion and he didn't

10:21:46   13   treat it as such, the other way, it comes all the way

10:21:51   14   back down and we start all over again.

10:21:54   15             That doesn't make any sense.     I have great

10:21:58   16   faith in the quality of the lawyers in this case.      I've

10:22:04   17   read your briefing.    Your briefing is good.   And I am

10:22:10   18   looking to you to help me make the right decision here.

10:22:16   19   That's what this is all about.    Just like I did, in my

10:22:22   20   view -- the United States doesn't agree -- when I

10:22:25   21   dismissed their cause of action in involving Mexico

10:22:35   22   international law.    I got very good briefing on that, and

10:22:38   23   I ruled for the State because I think, looking at it

10:22:42   24   carefully, Texas is right.    It's not a cause of action

10:22:48   25   here.   Political question.


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                 35

10:22:55   1                 So, again, Ms. Pettit, I want to emphasize to

10:23:01   2    you that, first of all, I want to thank you for showing

10:23:05   3    up.    I didn't order you here, you didn't have to come

10:23:09   4    here, and you didn't have to subject yourself to being

10:23:14   5    questioned by me on this letter.       And your willingness to

10:23:22   6    do so says a lot, not only about you personally but about

10:23:29   7    your belief in your office.      And that I think is

10:23:34   8    important.     So I thank you very much for coming.      You

10:23:39   9    didn't have to do it.      I didn't order -- I could have

10:23:43   10   ordered you here, but I didn't.       I simply requested that

10:23:46   11   you come.     And you could have said, ah, I'm not coming.

10:23:50   12   We've got lawyers.

10:23:52   13                I want to thank counsel for her.     You did the

10:23:55   14   best job you could.     You didn't -- I didn't attack her in

10:23:58   15   any way, shape, or form.      I'm not attacking her.     I don't

10:24:03   16   know whether she even actually wrote the letter.         She's

10:24:06   17   at a level where frequently other people write letters.

10:24:11   18   And so the errors in the letter may not even be hers.

10:24:18   19                But it doesn't matter.    I'm not mad.    I don't

10:24:25   20   hold grudges.     In my entire career as a federal judge,

10:24:33   21   all the cases I've handled, all the circuits that have

10:24:37   22   heard my appeals, I have never to my knowledge been

10:24:44   23   removed -- or my recollection -- from a case for bias or

10:24:50   24   for any other reason.

10:24:51   25                Now I've recused myself because I had a


                           ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                      U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                     36

10:24:53   1    conflict.     But I don't have a bias against the State of

10:24:59   2    Texas, and my record here proves it.          By the way, I

10:25:04   3    handle a lot of State of Texas cases.          They have nothing

10:25:08   4    to do with big issues like we have here, and I rule for

10:25:12   5    the State of Texas frequently.        Nothing against the State

10:25:17   6    of Texas.

10:25:20   7                 I love the State of Texas, actually.         I didn't

10:25:23   8    have to become a member of the Texas Bar, but I did.

10:25:29   9    Why?     Because I'm proud to be a member of the Texas Bar.

10:25:38   10   That's why.      And my good friend, the Chief Justice, swore

10:25:42   11   me in his office.        And I'm very proud of that, too.

10:25:47   12                And let me say again:     I have no animus or any

10:25:52   13   concern about the Fifth Circuit Court of Appeals.             They

10:25:56   14   will do whatever they need to do.          Now, am I always happy

10:25:59   15   about every ruling they -- they hand down?          No.

10:26:04   16   Absolutely not.

10:26:06   17                Look.    I am very good friends with many of the

10:26:12   18   those judges.        I don't know all of them well, but I know

10:26:15   19   most of them.        And I have a wonderful relationship

10:26:19   20   with -- even like Judge Willett and I have a good

10:26:24   21   relationship.        He's a great judge.    Judge Elrod and I are

10:26:29   22   very good friends, very good friends.          Judge -- Chief

10:26:36   23   Judge Richman and I are very good friends.          Judge Oldham

10:26:41   24   and I are friends.

10:26:43   25                Now, Judge Elrod was in the majority that


                            ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                       U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                 37

10:26:47   1    reversed me in this.       You think that makes any difference

10:26:49   2    to me?     Absolutely not.    She was doing her job the way

10:26:54   3    she thought she needed to do it.          Judge Willett wrote the

10:26:58   4    opinion.     Do I agree with him?     No.    But I don't think

10:27:03   5    that makes me a nut.       There's a lot of Fifth Circuit

10:27:09   6    judges that didn't agree with them.          So I don't think I'm

10:27:13   7    some sort of wild outlier here.

10:27:17   8                And President Ronald Reagan wasn't known for

10:27:26   9    appointing left-wing radical jurists, and I don't think

10:27:35   10   I've ever proven to be one.        So I am going to ask that

10:27:44   11   when you send the transcript up to the Fifth Circuit, you

10:27:48   12   send this transcript with it, today's transcript.

10:27:55   13               MS. PETTIT:     Certainly, Your Honor.

10:27:56   14               THE COURT:     Okay?

10:27:58   15               MR. WALTERS:     Absolutely, Your Honor.

10:27:59   16               THE COURT:     Okay.   Let them have both

10:28:01   17   transcripts.     If they're going to read a transcript, let

10:28:03   18   them read it all.

10:28:05   19               MS. PETTIT:     Absolutely.

10:28:06   20               THE COURT:     They may be mad at me for calling

10:28:09   21   this hearing.     I don't know.     But I don't think so.    I

10:28:11   22   mean, I don't think when I -- when we left yesterday, I

10:28:16   23   thought we were on solid ground as to what we were doing.

10:28:22   24   I thought we understood what we were doing, and we were

10:28:25   25   going forward.


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                   38

10:28:26   1                I don't think -- I really don't think either

10:28:30   2    party, when they left -- tell me, please, if you will.

10:28:34   3    Did any party feel that the process that I set forth was

10:28:38   4    prejudicial or in some way did not follow what you would

10:28:45   5    like to have been done?     I don't think so.     I certainly

10:28:50   6    would have heard -- we don't have any shrinking flowers

10:28:53   7    here.

10:28:55   8                In fact, I agreed with the State of Texas more

10:28:59   9    than I agreed with the government -- the federal

10:29:01   10   government.     You're the government, too.     You're a

10:29:06   11   sovereign government, to use Governor Abbott's words,

10:29:14   12   which I agree with, by the way.       Texas is a sovereign

10:29:17   13   state.    It's a government, and it needs to be treated as

10:29:21   14   such.

10:29:21   15               So that's where we are.    I intend to follow

10:29:35   16   through with the plan we worked out, and I hope when we

10:29:41   17   hear from the Fifth Circuit -- which it's a legal

10:29:47   18   question.     You know, if the Fifth Circuit says, look,

10:29:50   19   they're entitled to a jury trial, that will be an issue

10:29:53   20   the Supreme Court will have to decide, ultimately.           But

10:29:56   21   you're going to get a jury trial.

10:29:57   22               I mean, I think it's an equitable cause of

10:30:01   23   action.     They're not seeking money damages.     They're

10:30:04   24   seeking to have you remove the buoy.       And with respect to

10:30:08   25   the potential of a fine, the government has not ever


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                             39

10:30:13   1    indicated they're looking to recover a fine in this case.

10:30:19   2    They're not pursuing that remedy.      They just want

10:30:23   3    equitable remedy.     And, even if they were pursuing it, we

10:30:26   4    could handle that at a later time, and it would be a jury

10:30:28   5    trial.

10:30:28   6              But that's not -- I mean, are we even going to

10:30:34   7    get that far?     I don't know.   As I said the other day,

10:30:39   8    the United States may look at this and say, look, there's

10:30:42   9    no really -- there's no way, given the Fifth Circuit's

10:30:46   10   ruling, that we can adequately proceed.      And that we may

10:30:52   11   have a trial on the record and have me enter judgment,

10:31:01   12   and then they can take their appeal, as for a writ of

10:31:08   13   certiorari.

10:31:08   14             I guess they would have to appeal to the Fifth

10:31:11   15   Circuit first, because that would be a trial on the

10:31:14   16   merits, the other -- we keep forgetting that that en banc

10:31:18   17   ruling was not on the merits of the case, it was on the

10:31:22   18   preliminary injunction.     This thing is so complicated,

10:31:27   19   even I lose track of it half the time.

10:31:29   20             All right.    Again, I want to thank all of you

10:31:33   21   for being here.     And, by the way, if you don't think --

10:31:37   22   this is the really odd part of it.      There's a reporter

10:31:44   23   for The Statesman who I've never personally met, who

10:31:50   24   happens to be an excellent reporter.      What is his name

10:31:54   25   again?   He's already got an article out on this.


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                   40

10:32:03   1                 Is it Jeremy?

10:32:06   2                 THE CLERK:     I don't think so.   I don't have

10:32:07   3    Internet.

10:32:08   4                 THE COURT:     What is his name?   Are you out

10:32:10   5    here?    What is your name, sir.

10:32:12   6                 MR. MORITZ:     Your Honor, I'm John Moritz with

10:32:13   7    the Austin American-Statesman.

10:32:14   8                 THE COURT:     There you go.   Mr. Moritz.

10:32:16   9                 Mr. Moritz is an excellent reporter.         I read

10:32:20   10   his articles many times.        He generally gets it absolutely

10:32:24   11   right, which is not something that happens often.            And

10:32:30   12   he's already written an article on this, and he has

10:32:33   13   brought out the facts in that article.

10:32:36   14                Do you think that these Fifth Circuit judges

10:32:39   15   live in some sort of a bubble and they don't read the

10:32:42   16   newspaper?     They do.     We don't all live in a bubble.

10:32:52   17   They read the newspapers.        They go to Baylor games like

10:32:53   18   me.     Judge Willett's a big Baylor fan, as is Judge Elrod

10:33:00   19   and I.     That's our connection.     And Judge Richman, by the

10:33:05   20   way, Chief Judge Richman.

10:33:10   21                Okay.   And he'll write another article today

10:33:12   22   maybe.     I don't know.     But he is a good reporter.

10:33:17   23                All right.     Anything else you would like to put

10:33:20   24   on the record?

10:33:23   25                MR. WALTERS:     We're always happy to meet with


                           ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                      U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                41

10:33:25   1    you, Your Honor.

10:33:27   2                THE COURT:    Not always.   You're about as always

10:33:32   3    happy to meet with me as I am to always read Fifth

10:33:36   4    Circuit opinions.       Most of the time I get affirmed.      You

10:33:39   5    know, I have a really good record in front of the Fifth

10:33:41   6    Circuit, I'm proud to say.        Unfortunately, sometimes,

10:33:46   7    when I don't get affirmed, it's the ones that you read

10:33:48   8    about.    What can you say?

10:33:54   9                Okay.   Thank you.    Anything else, Counsel?

10:33:57   10               MR. WADE:    No, Your Honor.   Thank you.

10:33:58   11               THE COURT:    Anything from the people on the

10:34:02   12   phone?    Hello?    Are you there?    Did we lose them?

10:34:11   13               MR. LYNK:    Sorry.   I was muted.   But nothing

10:34:14   14   from the United States, Your Honor.

10:34:14   15               THE COURT:    You may -- and I'm not telling you

10:34:16   16   to do so.    But you may want to respond to Texas's letter,

10:34:23   17   if you wish, because it's now kind of ex parte.           But you

10:34:29   18   also may want to wait and see if they request it.

10:34:34   19               Generally -- but that's up to you.      I'm not

10:34:41   20   telling you to do it or not to do it.

10:34:45   21               MR. LYNK:    Understood, Your Honor.

10:34:45   22               THE COURT:    Okay.   You do whatever you want to

10:34:47   23   do.    But I want this transcript to go up.      And if Texas

10:34:53   24   for some reason is unable to do it or didn't do it or

10:34:56   25   doesn't do it, I want the United States to send this


                           ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                      U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                                    42

10:34:59   1    transcript up.     Somebody send the transcript up to the

10:35:04   2    Fifth Circuit.

10:35:04   3                MR. WALTERS:     We'd be happy to do it,

10:35:06   4    Your Honor.

10:35:07   5                THE COURT:     If you say you will, you will.       I

10:35:09   6    don't have any concerns about that.

10:35:12   7                MR. WALTERS:     And, Your Honor, would you like

10:35:16   8    us to file the -- once we get a rough transcript, or

10:35:19   9    would you like to wait until you get a final transcript.

10:35:22   10               THE COURT:     She'll get a finalized transcript

10:35:25   11   to you today.

10:35:26   12               MR. WALTERS:     For today's hearing?

10:35:27   13               THE COURT:     She's really good.    She's an

10:35:29   14   excellent reporter.

10:35:30   15               MR. WALTERS:     That is what I've heard.       Thank

10:35:32   16   you very much.     That's been our experience.

10:35:38   17               THE COURT:     Anything else?   You're chatting

10:35:39   18   among yourselves.

10:35:40   19               MR. WALTERS:     No, Your Honor.    We're good.

10:35:42   20               THE COURT:     This is the kind of chatter we get,

10:35:44   21   you know.     For all we know, somebody in the Fifth

10:35:47   22   Circuit -- in the Attorney General's Office, some

10:35:50   23   appellate lawyer, might have looked at this and said,

10:35:53   24   Whoops.     We have an issue here.    I think we've got a

10:35:56   25   winner, but we need to address it when it comes down to


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                               43

10:36:01   1    the opinions.       Some appellate lawyer might have said

10:36:05   2    that.     And, if they did, they're smart.

10:36:07   3                Okay.    Thank you very much.    Court stands in

10:36:09   4    recess.

10:36:10   5            (End of transcript)

           6

           7

           8

           9

           10

           11

           12

           13

           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25


                        ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
                   U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                                                                     44

1    UNITED STATES DISTRICT COURT     )

2    WESTERN DISTRICT OF TEXAS        )

3         I, Arlinda Rodriguez, Official Court Reporter, United

4    States District Court, Western District of Texas, do certify

5    that the foregoing is a correct transcript from the record of

6    proceedings in the above-entitled matter.

7         I certify that the transcript fees and format comply with

8    those prescribed by the Court and Judicial Conference of the

9    United States.

10        WITNESS MY OFFICIAL HAND this the 7th day of August 2024.

11

12                                  /S/ Arlinda Rodriguez
                                    Arlinda Rodriguez, Texas CSR 7753
13                                  Expiration Date: 10/31/2025
                                    Official Court Reporter
14                                  United States District Court
                                    Austin Division
15                                  501 West 5th Street, Suite 4152
                                    Austin, Texas 78701
16                                  (512) 391-8791

17

18

19

20

21

22

23

24

25


              ARLINDA L. RODRIGUEZ, OFFICIAL COURT REPORTER
         U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
